                      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 1 of 97
AO 106 (Rev. 04/10) Application for a Search Warrant



                                         UNITED STATES DISTRICT COURT                                                                      FILED
                                                                                                                                           Jul 10, 2024
                                                                          for the                                                      CLERK, U.S. DISTRICT COURT
                                                                                                                                     EASTERN DISTRICT OF CALIFORNIA


                                                            Eastern District of California

               In the Matter of the Search of )
                                              )
A dark colored Nokia flip cellular telephone, )                                          Case No.          2:24-sw-0695 CSK
      described in Attachment A-17            )
                                              )
                                      APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the property
to be searched and give its location):

SEE ATTACHMENT A-17, attached here and incorporated by reference.
located in the               Eastern              District of                 California                   , there is now concealed (identify the
person or describe the property to be seized):

SEE ATTACHMENTS B and C, attached here and incorporated by reference
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                evidence of a crime;
                contraband, fruits of crime, or other items illegally possessed;
                property designed for use, intended for use, or used in committing a crime;
                a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
              Code Section                                                                Offense Description
     21 U.S.C. §§ 841(a)(1) and 846              Conspiracy to Distribute and Possess with Intent to Distribute a controlled substance

           21 U.S.C. § 841(a)(1)                 Distribution of, and possession with intent to distribute, a controlled substance

              21 U.S.C. § 843                    Use of a communication facility to further a Conspiracy to Distribute and Possess with Intent to
                                                 Distribute a controlled substance
          The application is based on these facts:
SEE AFFIDAVIT, attached here and incorporated by reference.
            Continued on the attached sheet.
            Delayed notice     30 days (give exact ending date if more than 30 days:                                                   ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                              /s/

                                                                                                          Applicant’s signature

                                                                                              DEA Task Force Officer Sixto Torres
                                                                                                          Printed name and title

Sworn to me over the telephone and SIGNED by me pursuant to Fed. R. Crim. P. 4.1 and 4(d).
Dated:    July 10, 2024
                                                                                                            Judge’s signature

City and state: Sacramento, California                                                  Chi Soo Kim, U.S. Magistrate Judge
                                                                                                          Printed name and title
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 2 of 97


 AFFIDAVIT OF TASK FORCE OFFICER SIXTO TORRES IN SUPPORT
         OF AN APPLICATION FOR SEARCH WARRANTS

     I, Task Force Officer Sixto Torres, United States Drug Enforcement Administration
(“DEA”), being first duly sworn, hereby state as follows:

                     SCOPE OF REQUESTED SEARCH WARRANTS

1.     I write this affidavit in support of an application for a warrant to search electronic devices
       further described in Attachments A-1 through A-19. These searches would aim to
       identify electronically-stored data more specifically described in Attachment B.
       Attachments A-1 through A-19 and Attachment B are incorporated here by reference.

2.     The property to be searched consists of cellular telephones (“the Devices”):

              •   A white Apple iPhone cellular telephone, described in Attachment A-1;

              •   A dark colored Samsung cellular telephone, described in Attachment A-2;

              •   A dark colored Samsung cellular telephone, described in Attachment A-3;

              •   An Apple iPhone cellular telephone, described in Attachment A-4;

              •   A dark colored Samsung cellular telephone, described in Attachment A-5;

              •   A dark colored Samsung cellular telephone, described in Attachment A-6;

              •   A dark colored Samsung cellular telephone, described in Attachment A-7;

              •   A purple Apple iPhone cellular telephone, described in Attachment A-8;

              •   A dark colored Samsung cellular telephone, described in Attachment A-9;

              •   An Apple iPhone cellular telephone, described in Attachment A-10;

              •   An Apple iPhone cellular phone in a black case, described in Attachment
                  A-11;

              •   A “reddish-pink” colored T-Mobile cellular telephone, described in
                  Attachment A-12;

              •   A silver colored Coolpad cellular telephone, described in Attachment A-13;

              •   A white Apple iPhone cellular phone, described in Attachment A-14;
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 3 of 97


            •   A black flip cellular phone with a “chili pepper” logo, described in
                Attachment A-15;

            •   A dark colored Nokia flip cellular telephone, described in Attachment A-16;

            •   A dark colored Nokia flip cellular telephone, described in Attachment A-17;

            •   A dark colored TCL cellular telephone, described in Attachment A-18;

            •   A purple Motorola smart cellular telephone, described in Attachment A-19;

3.   The Devices are currently in the lawful possession of the Drug Enforcement
     Administration. Although the DEA might already have all necessary authority to
     examine them, I seek this additional warrant out of an abundance of caution. I want to be
     certain that an examination of the Devices will comply with the Fourth Amendment and
     other laws.

4.   I am currently conducting an investigation related to the distribution of crystal
     methamphetamine and other controlled substances. The investigation involves Julio
     SARABIA, Michael HUTCHISON III, Jose Miguel HERNANDEZ, Mulan
     KEOPHIMANH, Guadalupe CERVANTES, and others in the Eastern District of
     California.

                      AGENT BACKGROUND AND EXPERTISE


5.   I am a Task Force Officer (“TFO”) with the DEA, and have held the assignment since
     January 2023. I have been sworn as a deputized agent with the DEA and am currently
     assigned to a DEA Task Force Group. I am an “investigative or law enforcement officer
     of the United States” within the meaning of Section 2510(7) of Title 18, United States
     Code, that is, an officer of the United States who is empowered by law to conduct
     investigations of, and to make arrests for, offenses enumerated in Title 18, United States
     Code, Section 2516. I am also a Peace Officer with the Yuba County Sheriff’s
     Department and have held this position since October of 2014. Prior to my current
     assignment as a TFO, I was assigned as an Agent with the Yuba-Sutter Narcotic and
     Gang Enforcement Task Force.

6.   The DEA Task Force Group, which is federally funded, is a collaborative group of
     officers and agents from the DEA and state and local law enforcement agencies including
     the Yuba County Sheriff’s Department, Sacramento Sheriff’s Department, Tracy Police
     Department, California Highway Patrol, Sacramento Police Department, El Dorado
     County District Attorney’s Office, and California Department of Corrections and
     Rehabilitation. The goal of the DEA Task Force Group is to investigate and disrupt illicit
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 4 of 97


     drug trafficking in specified geographical areas by immobilizing the highest levels of
     targeted violators and trafficking organizations.

7.   I have received over 940 hours of law-enforcement training in the Sacramento Police
     Academy. Subsequent to my academy training, I received the following POST certified
     training: Field Training Officer (40 hours), Basic Special Weapons and Tactics (80
     hours), California Specialized Training Institute (40 hours), Behavior Analysis Training
     Institute Interview and Interrogation Techniques (40 hours), CATO Chemical Agent
     Instructor (40 hours), Robert Presley Institute of Criminal Investigation- Officer-Involved
     Shooting/Force Investigations (40 hours), Robert Presley Institute of Criminal
     Investigation- Basic Gang Investigation (40 hours), Sacramento Sheriff’s Department-
     Black Gangs Update (8 hours), Robert Presley Institute of Criminal Investigation-
     Advanced Gang Investigation (40 hours), Robert Presley Institute of Criminal
     Investigation- Drug/Narcotics Investigation (80 hours), 55th Annual California Narcotics
     Officers’ Association Conference (23 hours), Behavioral Analysis Training Inc.- Outlaw
     Motorcycle Gangs (8 hours), State of California Department of Justice- Electronic
     Wiretap Surveillance (8 hours), California Narcotics Officers’ Association- Inside a
     Mexican Drug Cartel (8 hours), NES Inc.- Basic Clandestine Laboratory Safety (32
     hours), 57th Annual California Narcotics Officers’ Association Conference (23 hours),
     Los Angeles HIDTA Basic and Intermediate Undercover Techniques and Survival (36
     hours), National California Gang Investigators Association Conference (24 hours), Drug
     Enforcement Administration Task Force Officer School (40 hours), and International
     Narcotics Interdiction Association Conference (28 hours).

8.   Through my training, experience, and interaction with other experienced Special Agents,
     Task Force Agents, and other drug investigators, I have become familiar with the
     methods employed by drug traffickers to smuggle, safeguard, store, transport, and
     distribute drugs, to collect and conceal drug related proceeds, and to communicate with
     other participants to accomplish such objectives. These methods include the use of
     telephones, pre-paid or debit calling cards, public telephones, wireless communications
     technology such as paging devices and cellular telephones, counter-surveillance,
     elaborately planned smuggling schemes tied to legitimate businesses, and use of codes in
     communications in an attempt to avoid detection by law enforcement. Based on my
     training and experience, I also know that violators of the controlled substances laws often
     purchase telephones or subscribe to telephone service using false names and/or other
     individuals’ names to avoid detection by law enforcement.

9.   In addition to my personal knowledge, this affidavit is based on (1) information I
     obtained from related investigations; (2) conversations with other law enforcement
     officers including oral and written investigative and laboratory reports that I received
     directly or indirectly from other law enforcement officials; (3) review and analysis of
     information received from various sources, including evidence provided pursuant to
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 5 of 97


      subpoenas and search warrants, such as GPS tracking data; (4) physical surveillance
      conducted by law enforcement officials reported to me either directly or indirectly; (5) a
      review of public records, telephone toll records, and subscriber information; (6)
      information provided from confidential sources of information, cooperating defendants,
      and other sources of information working with law enforcement agencies; (7) a review of
      driver’s license and automobile registration records; (8) records from various law
      enforcement databases, including but not limited to the National Law Enforcement
      Telecommunications System (“NLETS”) and the National Crime Information Center
      (“NCIC”); (9) my training and experience as a DEA TFO and/or; (10) the training and
      experience of other law enforcement officials with whom I consulted during this
      investigation and the preparation of this Affidavit.

10.   This Affidavit is also based upon Title III intercepts of two phones used by Michael
      HUTCHISON – specifically, telephone number 916-896-8190 (Target Telephone 1 or
      TT#1) and 530-575-2921 (Target Telephone 3 or TT#3), as well as a phone used by
      Julio SARABIA – specifically, 279-386-8415 (Target Telephone 2 or TT#2). I have
      reviewed transcripts and audio recordings of intercepted telephone calls from TT#1,
      TT#2, and TT#3.


11.   Because this affidavit is submitted for the limited purpose of supporting the requested
      search warrants, I have not included the details of every aspect of the investigation. I
      have set forth only the facts that I believe are necessary to establish a foundation for an
      order authorizing the search and seizure of the property identified in this affidavit.

                          STATEMENT OF PROBABLE CAUSE

                                          Background

12.   Since January 2023, the DEA’s Sacramento District Office (SDO) has been investigating
      the Julio SARABIA Drug Trafficking Organization (DTO). The SARABIA DTO is a
      drug trafficking enterprise engaged in, among other things, the distribution of large
      quantities of crystal methamphetamine and other controlled substances, in the area of
      Sacramento, California and elsewhere. During this investigation, multiple controlled
      purchases of crystal methamphetamine and other controlled substances were conducted
      by confidential sources from multiple co-conspirators within the SARABIA DTO.

13.   Between February 13 and March 13, 2023, Title III intercepts were authorized on Target
      Telephone 1, used by HUTCHISON. Between April 19 and May 19, 2024, Title III
      intercepts were also authorized on Target Telephone 2, used by SARABIA and Target
      Telephone 3, used by HUTCHISON. During these periods, HUTCHISON and
      SARABIA spoke explicitly about their drug trafficking activities over intercepted calls.
          Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 6 of 97


14.   After conducting controlled drug buys, strategic car stops, executing search warrants, and
      listening to wiretapped conversations, investigators brought the case down. In particular,
      on May 23, 2024, Magistrate Judge Deborah Barnes issued search warrants for multiple
      locations (including each location discussed below) and arrest warrants and a criminal
      complaint charging Julio SARABIA, Michael HUTCHISON III, Jose Miguel
      HERNANDEZ, Mulan KEOPHIMANH, Guadalupe CERVANTES, Tanya LAWSON,
      and Johnny TRUONG. The Affidavit in support of these search warrants, arrest warrants,
      and criminal complaint is attached to this Affidavit as Attachment C and incorporated
      herein by reference.

15.   On May 30, 2024, the DEA along with other investigating agencies conducted an
      enforcement operation resulting in the arrests of Julio SARABIA, Michael HUTCHISON
      III, Jose Miguel HERNANDEZ, Mulan KEOPHIMANH, and the searches of multiple
      locations and persons including Marc GRAVELLE, Nicolas ESPINOSA, and Marvin
      HOLT. During these arrests and searches, multiple cellular telephones (the Devices) were
      seized, as detailed further below.

  Search Warrant at 3301 Arena Boulevard #100, Sacramento, CA, and Arrests of Michael
             HUTCHISON III and Mulan KEOPHIMANH on May 30, 2024

16.   Included in Attachment C is a statement of probable cause to believe that Michael
      HUTCHISON III and Mulan KEOPHIMANH distributed (or conspired to distribute)
      crystal methamphetamine on behalf of the Julio SARABIA Drug Trafficking
      Organization (the “SARABIA DTO”) and that HUTCHISON and KEOPHIMINAH
      resided at 3301 Arena Boulevard #100, Sacramento, California.

17.   On May 30, 2024, at approximately 6:00 AM, DEA along with other investigating
      agencies executed the aforementioned search warrant at 3301 Arena Boulevard #100,
      Sacramento, during which time HUTCHISON and KEOPHIMANH were arrested
      pursuant to the aforementioned arrest warrants. John Martinez and Jailyn Sanethavong
      were also present at the time of the search.

18.   During the search, the following electronic devices were found and seized from the
      residence:

      •    A white Apple iPhone cellular telephone found on HUTCHISON and
           KEOPHIMANH’s bed (further described in Attachment A-1);
      •    A dark colored Samsung cellular telephone found on HUTCHISON and
           KEOPHIMANH’s bed (further described in Attachment A-2);
      •    A dark colored Samsung cellular telephone found in HUTCHISON and
           KEOPHIMANH’s bedroom (further described in Attachment A-3);
          Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 7 of 97


      •    An Apple iPhone cellular telephone found in the kitchen area of HUTCHISON and
           KEOPHIMANH’s residence (further described in Attachment A-4);
      •    A dark colored Samsung cellular telephone found in the kitchen area of
           HUTCHISON and KEOPHIMANH’s residence (further described in Attachment A-
           5);
      •    A dark colored Samsung cellular telephone found in the kitchen area of
           HUTCHISON and KEOPHIMANH’s residence (further described in Attachment A-
           6);
      •    A dark colored Samsung cellular telephone found in a black hoodie sweatshirt in
           HUTCHISON and KEOPHIMANH’s bedroom closet (further described in
           Attachment A-7);
      •    A purple Apple iPhone cellular telephone found on kitchen counter in HUTCHISON
           and KEOPHIMANH’s residence (further described in Attachment A-8);
      •    A dark colored Samsung cellular telephone found in HUTCHISON and
           KEOPHIMANH’s bedroom (further described in Attachment A-9);
      •    An Apple iPhone cellular telephone found on KEOPHIMANH’s person (further
           described in Attachment A-10).

 Search Warrant at 2710 Edgewater Court, West Sacramento, CA and Arrest of Jose Miguel
                            HERNANDEZ on May 30, 2024


19.   Included in Attachment C is a statement of probable cause to believe that Jose Miguel
      HERNANDEZ distributed crystal methamphetamine on behalf of the SARABIA DTO
      and that HERNANDEZ resided at 2710 Edgewater Court, West Sacramento, CA.

20.   On May 30, 2024, at approximately 6:00 AM, DEA along with other investigating
      agencies executed the aforementioned search warrant at 2710 Edgewater Court, West
      Sacramento, during which time agents arrested HERNANDEZ pursuant to the
      aforementioned arrest warrant. Present at the residence was HERNANDEZ’s mother,
      girlfriend, and their young child.

21.   During the search, the following electronic devices were found and seized from the
      residence:

      •    An Apple iPhone cellular phone in a black case found on the right side of the bed in
           HERNANDEZ’s bedroom (further described in Attachment A-11);
      •    A “reddish-pink” colored T-Mobile cellular telephone found on the top of the
           nightstand in HERNANDEZ’s bedroom (further described in Attachment A-12);
      •    A silver colored Coolpad cellular telephone found on the top of the nightstand in
           HERNANDEZ’s bedroom (further described in Attachment A-13);
          Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 8 of 97


      •    A white Apple iPhone cellular phone found in the top drawer of the nightstand in
           HERNANDEZ’s bedroom (further described in Attachment A-14);
      •    A black flip cellular phone with a “chili pepper” logo found in the top drawer of the
           nightstand in HERNANDEZ’s bedroom (further described in Attachment A-15);
      •    A dark colored Nokia flip cellular telephone found in the bottom drawer of the
           nightstand in HERNANDEZ’s bedroom (further described in Attachment A-16);
      •    A dark colored Nokia flip cellular telephone found in the bottom drawer of the
           nightstand in HERNANDEZ’s bedroom (further described in Attachment A-17);
      •    A dark colored TCL cellular telephone found in the top right drawer of the nightstand
           in HERNANDEZ’s bedroom (further described in Attachment A-18);
      •    A purple Motorola smart cellular telephone found in the top right drawer of the
           nightstand in HERNANDEZ’s bedroom (further described in Attachment A-19);

                   TRAINING AND EXPERIENCE REGARDING
                DRUG TRAFFICKERS AND CELLULAR TELEPHONES

22.   As a result of my experience and training, I have learned that traffickers who deal in
      various quantities of controlled substances, or those that assist in that venture, maintain
      and tend to retain accounts or records of those transactions. Such records detail amounts
      outstanding, owed, or expended, along with records tending to indicate the identity of co-
      conspirators. These records may be kept on paper or contained in memory calculators or
      computers. It is also my experience that these traffickers tend to keep these accounts and
      records in their residence and in the areas under their control. It is my training and
      experience that, in the case of drug dealers, evidence is likely to be found where the
      dealers live. United States v. Angulo-Lopez, 791 F.2d 1394, 1399 (9th Cir. 1986). It is
      also my training and experience that where criminal activity is long-term or ongoing,
      equipment and records of the crime will be kept for some period of time. United States v.
      Greany, 929 F.2d 523, 525 (9th Cir. 1991).

23.   In my own training and experience, and from what I have learned by consulting with
      other agents, narcotics traffickers use handheld devices like “smart” phones and mobile
      telephones to communicate with one another to facilitate their drug trafficking, either by
      voice or text message. Mobile telephones preserve in their memory a history of
      incoming, outgoing, and missed calls, which can lead to evidence of the telephone
      numbers of other narcotics traffickers and the dates and times that they and/or the mobile
      telephone user dialed one another’s telephones. Mobile telephones also contain in their
      memory a telephone book. This allows the user to store telephone numbers and other
      contact information; the information stored in a telephone used by a narcotics trafficker is
      evidence of the associations of the narcotics trafficker, some of which are related to his or
      her illegal business. Mobile telephones also contain in their memory text messages sent,
      received, and drafted by the mobile telephone user. The text message history of a
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 9 of 97


      narcotics trafficker’s mobile telephone can contain evidence of narcotics trafficking
      because it shows the communications or planned communications of a narcotics
      trafficker and the telephone numbers of those with whom the narcotics trafficker
      communicated or intended to communicate. Mobile telephones also have a voicemail
      function that allows callers to leave messages when the telephone user does not answer.
      Narcotics traffickers sometimes leave voice messages for each other and this is evidence
      both of their mutual association and possibly their joint criminal activity. Mobile
      telephones can also contain other user-entered data files such as “to-do” lists, which can
      provide evidence of crime when used by a narcotics trafficker. Mobile telephones can
      also contain photographic data files, which can be evidence of criminal activity when the
      user was a narcotics trafficker who took pictures of evidence of crime. Mobile telephone
      companies also store the data described in this paragraph on their own servers and
      associate the data with particular users’ mobile telephones. In addition, all of these
      functions are/can be found on a “smart” phone or similar handheld device, as well as
      evidence of email communications. Because there is probable cause to believe that the
      above mentioned defendants were engaged in the trafficking of controlled substances,
      including counterfeit pharmaceutical tablets containing fentanyl, cocaine, and
      methamphetamine, I believe that there is probable cause to believe that the Devices
      seized incident to arrest and pursuant to the execution of search warrants were used to
      conduct drug trafficking business, and that information and records relating to these
      activities will be found stored in the cellular telephones.

24.   Based on my training and experience as a DEA Task Force Officer, and upon the shared
      experience of other agents and officers with whom I have worked, I am aware that it is
      common practice for individuals involved in the trafficking of narcotics to rely on the use
      of telephones, and particularly cellular telephones to effectuate their scheme. I also know
      that it is common for those involved in narcotics trafficking to communicate with
      suppliers and distributors.

25.   Based on my experience and training and conversations with other law enforcement
      officers, I know that searching photographs and videos can help corroborate firearms
      possession as it is not uncommon for drug traffickers to photograph or record themselves
      with firearms. I am also aware that illegal drug dealers will often possess firearms as a
      means of intimidation as well as for protection against other illegal drug dealers, rival
      criminal organizations, and law enforcement. I also know that illegal drug dealers
      frequently take photographs and/or videos of their firearms, narcotics, and associates.
      These photographs are then commonly shared and posted to the internet using social
      media sites such as Facebook, Instagram, and Snapchat.

26.   It is my opinion, based on my training and experience, and the training and experience of
      other law enforcement investigators to whom I have spoken, that the items listed in
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 10 of 97


      Attachment B are items most often associated with communications among drug
      traffickers during a conspiracy.

27.   The Devices are currently in the lawful possession of the DEA. The Devices came into
      the DEA‘s possession following their seizure incident to the arrest of the defendants or
      execution of search warrants. Therefore, while the DEA might already have all necessary
      authority to examine the Devices, I seek this additional warrant out of an abundance of
      caution to be certain that an examination of the Devices will comply with the Fourth
      Amendment and other applicable laws.

                                  TECHNICAL TERMS

28.   Based on my training and experience, I use the following technical terms to convey the
      following meanings:

             •   Wireless telephone: A wireless telephone (or mobile telephone, or cellular
                 telephone) is a handheld wireless Devices used for voice and data
                 communication through radio signals. These telephones send signals through
                 networks of transmitter/receivers, enabling communication with other wireless
                 telephones or traditional “land line” telephones. A wireless telephone usually
                 contains a “call log,” which records the telephone number, date, and time of
                 calls made to and from the telephone. In addition to enabling voice
                 communications, wireless telephones offer a broad range of capabilities.
                 These capabilities include: storing names and telephone numbers in electronic
                 “address books;” sending, receiving, and storing text messages and e-mail;
                 taking, sending, receiving, and storing still photographs and moving video;
                 storing and playing back audio files; storing dates, appointments, and other
                 information on personal calendars; and accessing and downloading
                 information from the Internet. Wireless telephones may also include global
                 positioning system (“GPS”) technology for determining the location of the
                 device.

             •   Digital camera: A digital camera is a camera that records pictures as digital
                 picture files, rather than by using photographic film. Digital cameras use a
                 variety of fixed and removable storage media to store their recorded images.
                 Images can usually be retrieved by connecting the camera to a computer or by
                 connecting the removable storage medium to a separate reader. Removable
                 storage media include various types of flash memory cards or miniature hard
                 drives. Most digital cameras also include a screen for viewing the stored
                 images. This storage media can contain any digital data, including data
                 unrelated to photographs or videos.
Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 11 of 97


    •   Portable media player: A portable media player (or “MP3 Player” or iPod) is
        a handheld digital storage Device designed primarily to store and play audio,
        video, or photographic files. However, a portable media player can also store
        other digital data. Some portable media players can use removable storage
        media. Removable storage media include various types of flash memory
        cards or miniature hard drives. This removable storage media can also store
        any digital data. Depending on the model, a portable media player may have
        the ability to store very large amounts of electronic data and may offer
        additional features such as a calendar, contact list, clock, or games.

    •   GPS: A GPS navigation Devices uses the Global Positioning System to
        display its current location. It often contains records of the locations where it
        has been. Some GPS navigation devices can give a user driving or walking
        directions to another location. These devices can contain records of the
        addresses or locations involved in such navigation. The Global Positioning
        System (generally abbreviated “GPS”) consists of 24 NAVSTAR satellites
        orbiting the Earth. Each satellite contains an extremely accurate clock. Each
        satellite repeatedly transmits by radio a mathematical representation of the
        current time, combined with a special sequence of numbers. These signals are
        sent by radio, using specifications that are publicly available. A GPS antenna
        on Earth can receive those signals. When a GPS antenna receives signals
        from at least four satellites, a computer connected to that antenna can
        mathematically calculate the antenna’s latitude, longitude, and sometimes
        altitude with a high level of precision.

    •   PDA: A personal digital assistant, or PDA, is a handheld electronic Device
        used for storing data (such as names, addresses, appointments or notes) and
        utilizing computer programs. Some PDAs also function as wireless
        communication devices and are used to access the Internet and send and
        receive e-mail. PDAs usually include a memory card or other removable
        storage media for storing data and a keyboard and/or touch screen for entering
        data. Removable storage media include various types of flash memory cards
        or miniature hard drives. This removable storage media can store any digital
        data. Most PDAs run computer software, giving them many of the same
        capabilities as personal computers. For example, PDA users can work with
        word-processing documents, spreadsheets, and presentations. PDAs may also
        include global positioning system (“GPS”) technology for determining the
        location of the device.

    •   Internet: The Internet is a global network of computers and other electronic
        devices that communicate with each other. Due to the structure of the
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 12 of 97


                  Internet, connections between devices on the Internet often cross state and
                  international borders, even when the devices communicating with each other
                  are in the same state.

29.   Based on my training, experience, and research, I believe that the Devices may have capabilities
      that allow them to serve as wireless telephones, digital cameras, portable media players, GPS
      navigational devices, and PDAs. In my training and experience, examining data stored on
      devices of this type can uncover, among other things, evidence that reveals or suggests who
      possessed or used the device.

                  ELECTRONIC STORAGE AND FORENSIC ANALYSIS

30.   Based on my knowledge, training, and experience, I know that electronic devices can
      store information for long periods of time. Similarly, things that have been viewed via
      the Internet are typically stored for some period of time on the device. This information
      can sometimes be recovered with forensics tools.

31.   Forensic evidence. As further described in Attachment B, this application seeks
      permission to locate not only electronically stored information that might serve as direct
      evidence of the crimes described on the warrant, but also forensic evidence that
      establishes how the Devices were used, the purpose of their use, who used them, and
      when. There is probable cause to believe that this forensic electronic evidence might be
      on the Devices because:

              •   Data on the storage medium can provide evidence of a file that was once on
                  the storage medium but has since been deleted or edited, or of a deleted
                  portion of a file (such as a paragraph that has been deleted from a word
                  processing file).

              •   Forensic evidence on the Devices can also indicate who has used or controlled
                  them. This “user attribution” evidence is analogous to the search for “indicia
                  of occupancy” while executing a search warrant at a residence.

              •   A person with appropriate familiarity with how the electronic Devices work
                  may, after examining this forensic evidence in its proper context, be able to
                  draw conclusions about how electronic devices were used, the purpose of their
                  use, who used them, and when.

              •   The processes of identifying the exact electronically stored information on a
                  storage medium that are necessary to draw an accurate conclusion is a
                  dynamic process. Electronic evidence is not always data that can be merely
                  reviewed by a review team and passed along to investigators. Whether data
                  stored on a computer is evidence may depend on other information stored on
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 13 of 97


                 the computer and the application of knowledge about how a computer
                 behaves. Therefore, contextual information necessary to understand other
                 evidence also falls within the scope of the warrant.

             •   Further, in finding evidence of how the Devices were used, the purpose of
                 their use, who used them, and when, sometimes it is necessary to establish that
                 a particular thing is not present on a storage medium.

32.   Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
      warrant I am applying for would permit the examination of the Devices consistent with
      the warrant. The examination may require authorities to employ techniques, including
      but not limited to computer-assisted scans of the entire medium, that might expose many
      parts of the Devices to human inspection in order to determine whether it is evidence
      described by the warrant.

33.   Manner of execution. Because this warrant seeks only permission to examine the
      Devices already in law enforcement’s possession, the execution of this warrant does not
      involve the physical intrusion onto a premises. Consequently, I submit there is
      reasonable cause for the Court to authorize execution of the warrant at any time in the
      day or night.

                                       CONCLUSION

34.   Based on these facts, my training, and my experience, I believe there is probable cause to
      believe that Julio SARABIA, Michael HUTCHISON III, Mulan KEOPHIMANH, Jose
      Miguel HERNANDEZ, Marvin HOLT, Nicolas ESPINOSA, and Marc GRAVELLE and
      others have violated Title 21, United States Code, Sections 841(a)(1) and 846. I also
      believe there is probable cause to believe that the Devices described in Attachments A-1
      through A-19 will contain evidence of these crimes.
          Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 14 of 97


35.    I submit that this affidavit supports probable cause for a search warrant authorizing the
examination of the Devices described in Attachments A-1 through A-19 and to seek the items
described in Attachment B.




                                                               /s/
                                                            __________________________
                                                            Sixto Torres
                                                            Task Force Officer
                                                            Drug Enforcement Administration

                                                    10
Sworn to and subscribed to me telephonically on July __, 2024



____________________________
The Honorable Chi Soo Kim
United States Magistrate Judge


Approved as to Form:



_________________________
Jason Hitt
Assistant United States Attorney
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 15 of 97


                                     ATTACHMENT A-1
                                      Item to be Searched

       A white Apple iPhone cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 16 of 97


                                     ATTACHMENT A-2
                                      Item to be Searched

       A dark colored Samsung cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 17 of 97


                                     ATTACHMENT A-3
                                      Item to be Searched

       A dark colored Samsung cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 18 of 97


                                     ATTACHMENT A-4
                                      Item to be Searched

       An Apple iPhone cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 19 of 97


                                     ATTACHMENT A-5
                                      Item to be Searched

       A dark colored Samsung cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 20 of 97


                                     ATTACHMENT A-6
                                      Item to be Searched

       A dark colored Samsung cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 21 of 97


                                     ATTACHMENT A-7
                                      Item to be Searched

       A dark colored Samsung cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 22 of 97


                                     ATTACHMENT A-8
                                      Item to be Searched

       A purple Apple iPhone cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 23 of 97


                                     ATTACHMENT A-9
                                      Item to be Searched

       A dark colored Samsung cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 24 of 97


                                    ATTACHMENT A-10
                                     Item to be Searched

       An Apple iPhone cellular telephone, seized from 3301 Arena Boulevard #100,
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 25 of 97


                                    ATTACHMENT A-11
                                     Item to be Searched

       An Apple iPhone cellular telephone in a black case, seized from 2710 Edgewater Court,
West Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 26 of 97


                                    ATTACHMENT A-12
                                     Item to be Searched

       A “reddish-pink” colored T-Mobile cellular telephone, seized from 2710 Edgewater
Court, West Sacramento, CA on May 30, 2024. The Device is currently in the custody of the
Drug Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 27 of 97


                                    ATTACHMENT A-13
                                     Item to be Searched

       A silver colored Coolpad cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 28 of 97


                                    ATTACHMENT A-14
                                     Item to be Searched

       A white Apple iPhone cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 29 of 97


                                    ATTACHMENT A-15
                                     Item to be Searched

       A black clip cellular telephone with a “chili pepper” logo, seized from 2710 Edgewater
Court, West Sacramento, CA on May 30, 2024. The Device is currently in the custody of the
Drug Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 30 of 97


                                    ATTACHMENT A-16
                                     Item to be Searched

       A dark colored Nokia flip cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 31 of 97


                                    ATTACHMENT A-17
                                     Item to be Searched

       A dark colored Nokia flip cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 32 of 97


                                    ATTACHMENT A-18
                                     Item to be Searched

       A dark colored TCL cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 33 of 97


                                    ATTACHMENT A-19
                                     Item to be Searched

       A purple Motorola smart cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
         Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 34 of 97


                                           ATTACHMENT B
                                            Items to be Seized

     Law enforcement is authorized to search and seize property that constitutes evidence, fruits, and
instrumentalities of violations of the following federal statutes (the “Target Offenses”):



            •    Conspiracy to Distribute and Possess with Intent to Distribute a controlled substance, in
                 violation of 21 U.S.C. §§ 841(a)(1) and 846;

            •    Distribution of, and possession with intent to distribute a controlled substance, in
                 violation of 21 U.S.C. § 841(a)(1);

            •    Use of a communication facility to further a Conspiracy to Distribute and Possess with
                 Intent to Distribute a controlled substance, in violation of 21 U.S.C. § 843.


        As further described in the Affidavit, the specific evidence, fruits, and instrumentalities of the
Target Offenses for which agents may search includes:

    1. Any and all names, words, telephone numbers, email addresses, time/date information,
        messages or other electronic data in the memory of the Electronic Devices identified in
        Attachments A-1 through A-19 or on a server and associated with the Electronic Devices
        identified in Attachments A-1 through A-19, including:
            a. Incoming call history;
            b. Outgoing call history;
            c. Missed call history;
            d. Outgoing text messages;
            e. Incoming text messages;
            f. Draft text messages;
            g. Telephone book;
            h. Emails;
            i. Data screen or file identifying the telephone number associated with the mobile
                 telephone searched;
            j. Data screen, file, or writing containing serial numbers or other information to
                 identify the electronic device searched;
            k. Voicemail;
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 35 of 97


       l. User-entered messages (such as to-do lists); and
       m. Stored media such as photographs or video.
2. Any passwords used to access the electronic data described above.
3. Any and all locations, addresses, GPS coordinates, names, time/date information, or other
   electronic data related to addresses and driving directions.
4. All information and records related to the Target Offenses, including:
       a. Data and information related to stored applications and/or websites used to
           communicate with associates and co-conspirators;
       b. Data, information, or documents related to the distribution of controlled
           substances, including the acquisition, possession, and use of equipment,
           paraphernalia, and materials used in the distribution process, including firearms;
       c. lists of customers and related identifying information;
       d. types, amounts, and prices of drugs trafficked as well as dates, places, and
           amounts of specific transactions;
       e. any information related to sources of drugs or drug manufacturing materials and
           equipment (including names, addresses, phone numbers, email addresses, or any
           other identifying information);
       f. any information recording schedule or travel;
       g. all bank records, checks, credit card bills, account information, and other financial
           records;
       h. data, information, or documents related to the receipt of proceeds from controlled
           substances distribution and the transfer, investment, control, and disposition of
           those proceeds;
       i. records of Internet Protocol addresses used;
       j. records of Internet activity, including firewall logs, caches, browser history and
           cookies, “bookmarked” or “favorite” web pages, search terms that the user
           entered into any Internet search engine, and records of user-typed web addresses;
       k. any communications related to drug trafficking;
       l. stored media such as photographs or video.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 36 of 97


   5. Evidence of user attribution showing who used or owned the devices at the time the
       things described in this warrant were created, edited, or deleted, such as logs,
       phonebooks, saved usernames and passwords, documents, and browsing history;
       As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.
Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 37 of 97




                        ATTACHMENT C
                   Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 38 of 97
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                              FILED
                                                             for the                                         Jan 28,
                                                                                                             May 28, 2022
                                                                                                                     2024
                                                 Eastern District of California                           CLERK, U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF CALIFORNIA




                  United States of America
                             v.
               Julio Cesar SARABIA
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                                       Case No.
                                                                                        SEALED
          Michael William HUTCHISON III
                                                                 )
           Jose Miguel HERNANDEZ JR
          Mulan Precious KEOPHIMANH
                                                                 )                    2:24-mj-0070 DB
                                                                 )
              Johnny Bobby TRUONG                                )
          Guadalupe Manuel CERVANTES                             )
             Tanya Duerelle LAWSON                               )
                           Defendants


                                               CRIMINAL COMPLAINT

VIOLATION alleged as to all Defendants:

    •    Conspiracy to Distribute and Possess with Intent to Distribute at least 500 grams of a mixture and substance
         containing a detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1).

Specific allegation as to all Defendants:

    •    Between on or about January 26, 2023, and continuing to the present, the defendants Julio Cesar SARABIA,
         Michael William HUTCHISON III, Jose Miguel HERNANDEZ JR, Mulan Precious KEOPHIMANH, Johnny
         Bobby TRUONG, Guadalupe Manuel CERVANTES, and Tanya Duerelle LAWSON, are engaged in an
         ongoing conspiracy with each other and others known and unknown, to distribute and possess with intent to
         distribute at least 500 grams of a mixture and substance containing a detectable amount of methamphetamine in
         violation of 21 U.S.C. §§ 846, 841(a)(1).

        This criminal complaint is based on these facts:
Please see attached Affidavit, incorporated here by reference.
                                                                          /s/ Sixto Torres
                                                                                         Complainant’s signature

                                                                                  DEA Task Force Officer Sixto Torres
                                                                                             Printed name and title
This was sworn and signed before me telephonically.


         Sworn to me over the telephone and SIGNED by me
         pursuant to Fed. R. Crim. P. 4.1 and 4(d) on this
             28
         ___________   day of May 2024.
                                                                                               Judge’s signature

                                                                                           Deborah Barnes
City and state:       Sacramento, California
                                                                                         U.S. Magistrate Judge
                                                                                             Printed name and title


                                                             1 of 1
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 39 of 97


     AFFIDAVIT OF DEA TASK FORCE OFFICER SIXTO TORRES IN
                SUPPORT OF CRIMINAL COMPLAINT

1.   I, Sixto Torres, Drug Enforcement Administration (“DEA”) Task Force Officer, being
     duly sworn, hereby state:

                     SCOPE OF REQUESTED CRIMINAL COMPLAINT

2.   This affidavit is submitted in support of a Criminal Complaint and arrest warrants for the
     individuals listed below based upon their ongoing violation of federal law, as detailed
     below.

3.   Defendants

         i.    Julio Cesar SARABIA
        ii.    Michael William HUTCHISON III
      iii.     Jose Miguel HERNANDEZ JR
       iv.     Mulan Precious KEOPHIMANH
        v.     Johnny Bobby TRUONG
       vi.     Guadalupe Manuel CERVANTES
      vii.     Tanya Duerelle LAWSON

  4. Violation

        i.     As detailed in this affidavit, each of the defendants listed above, between on or
               about January 26, 2023, and continuing to the present, are engaged in an ongoing
               conspiracy with each other and others known and unknown, to distribute and
               possess with intent to distribute at least 500 grams of a mixture and substance
               containing a detectable amount of methamphetamine in violation of 21 U.S.C.
               §§ 846, 841(a)(1).

              OVERVIEW OF THE INVESTIGATION INTO THE SARABIA DTO

  5. Since January 2023, the DEA’s Sacramento District Office (SDO) has been investigating
     the Julio SARABIA Drug Trafficking Organization (DTO). The SARABIA DTO is a
     drug trafficking enterprise engaged in, among other things, the distribution of large
     quantities of crystal methamphetamine and other controlled substances, in the area of
     Sacramento, California and elsewhere. During this investigation, multiple controlled
     purchases of crystal methamphetamine and other controlled substances were conducted
     by confidential sources from multiple co-conspirators within the SARABIA DTO.

                                                 1
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 40 of 97




6. Between the period of February 13, 2023 through March 13, 2023, Title III intercepts
   were authorized on Target Telephone 1, used by HUTCHISON. Between the period of
   April 19, 2024, through May 19, 2024, Title III intercepts were also authorized on Target
   Telephone 2, used by SARABIA and Target Telephone 3, used by HUTCHISON.
   During these periods, HUTCHISON and SARABIA spoke explicitly about their drug
   trafficking activities.

7. As part of the investigation into the SARABIA DTO, investigators also gathered
   intelligence and evidence about how the drug trafficking conducted by the SARABIA
   DTO was inextricably intertwined with relationships among members and associates of
   the Sacramento-based criminal gang known as My Brother’s Keeper.

                 BACKGROUND ON THE “MY BROTHER’S KEEPER”
                          CRIMINAL ENTERPRISE

8. My Brother’s Keeper (“MBK”) is a criminal enterprise consisting of family members,
   extended family, and close-knit friends who engage in coordinated criminal activities
   with one another in the Sacramento area and elsewhere. Investigators in this case have
   determined that defendants Julio SARABIA, Michael HUTCHISON, and Jose
   HERNANDEZ are MBK members and consider Mulan KEOPHIMANH, Johnny
   TRUONG, Guadalupe CERVANTES, and Tanya Duerelle LAWSON associates who
   obtain and sell drugs supplied by MBK members, assist MBK members in drug
   trafficking, and assist MBK members in evading law enforcement detection and
   protecting against outside threats.

9. DEA Task Force Andy Cunningham has investigated MBK for a number of years and
   provided background information detailed here to provide context to the relationships
   among the drug trafficking conspirators charged in this Criminal Complaint.

10. According to DEA TFO Cunningham, MBK did not originally begin as a criminal
    enterprise. Instead, the group was essentially a collection of family and friends looking
    out for one another. At some point, as MBK members grew older, they moved toward
    large-scale, coordinated drug trafficking that forms the core of MBK member’s day-to-
    day activities and generates income for the group’s members and associates.

11. MBK “members” have their own MBK-related jewelry and clothing, gang signs, and
    sayings and cliques within the enterprise. Those who claim MBK cannot gain
    “membership” into the group, like a typical street gang; rather, they are family, extended
    family, or very close family friends.

                                               2
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 41 of 97




12. MBK members have a number of criminal groups that they consider rivals and allies. In
    particular, MBK consider the Fruitridge Vista Bloods street gang to be an enemy or rival
    group. This animosity originates from a long-standing feud with a now-deceased
    Fruitridge Vista Blood street gang member Christopher “Bris” Treadwell. Before his
    murder by an MBK member in 2020, Treadwell was a rapper with a growing profile in
    the rap world. MBK members believed that Treadwell had shot at two MBK members on
    the freeway during a feud. In retaliation, in June 2020, an MBK member ran into
    Treadwell at a gas station in South Sacramento. After attempting to flee, Treadwell was
    chased down by the MBK member. The MBK member allegedly shot and killed
    Treadwell in an execution-style murder. That MBK member is currently facing pending
    murder charges for the killing.

13. MBK has also formed alliances with criminal street gang members from Varrio Franklin
    Nortenos, Oak Park Nortenos, and Oak Park Bloods. Over time, some of these alliances
    have frayed or ceased to exist, but the existence of the alliances is a reflection of the
    group’s coordinated activity to protect its members from being assaulted, shot, or other
    violent activity.

14. MBK member Michael HUTCHISON formed a particularly close alliance with an Oak
    Park Blood street gang member named Jerry “Iddy” Crosby. When Crosby was
    murdered in September 2022 in Sacramento, MBK members paid respect to him and
    referred to him as their “Splazh.” The origin of “Splazh” is allegedly in reference to
    MBK members shooting rivals and having their rivals blood splash all over the pavement.
    As depicted in the image below, MBK member John Martinez displays a “Splazh” tattoo
    on his face (Figure 1) and wears a “Splazh” chain as homage to the slain Crosby (Figure
    2).




    Figure 1 – John Martinez displaying “SPLAZH” on side of face. Martinez is SARABIA’s half brother.

                                                   3
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 42 of 97




 Figure 2 – HUTCHISON is on the right holding an “MBK” pendant and wearing “SPLAZH” pendant – the
         MBK member on the left side of the photo, John Martinez, also displays a “SPLAZH” pendant.


15. HUTCHISON is considered one of the most prolific drug dealers in MBK who learned
    the drug trade from older MBK members, including Julio SARABIA. Evidence in the
    investigation reveals that Julio SARABIA is the group’s primary connection to large-
    scale methamphetamine suppliers and, within MBK, SARABIA is an influential figure
    within the gang with significant amount of control over MBK criminal activities. As an
    example of MBK’s interconnected relationships, HUTCHISON’s sister is married to co-
    defendant Jose HERNANDEZ. Thus, the coordinated drug trafficking activity of
    SARABIA, HUTCHISON, HERNANDEZ detailed below overlaps with familial
    connections made through marriage and participation in MBK criminal activities.




                                                 4
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 43 of 97




   Figure 3 – From left to right: MBK members and associates Jose HERNANDEZ, Julio SARABIA, Robert
                                Sarabia, John Martinez, and Michael HUTCHISON

           MAP OF SARABIA DTO DRUG-RELATED STASH HOUSES

16. Below is a visual representation of the geographic breadth and multiple drug-related stash
    houses used and operated by the SARABIA DTO during this investigation. MBK
    members and associates make up the portion of the SARABIA DTO targeted by this
    Criminal Complaint.




                                                 5
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 44 of 97




                    AFFIANT’S BACKGROUND AND EXPERTISE

17. I am a Task Force Officer (“TFO”) with the DEA, and have held the assignment since
    January 2023. I have been sworn as a deputized agent with the DEA and am currently
    assigned to a DEA Task Force Group. I am an “investigative or law enforcement officer
    of the United States” within the meaning of Section 2510(7) of Title 18, United States
    Code, that is, an officer of the United States who is empowered by law to conduct
    investigations of, and to make arrests for, offenses enumerated in Title 18, United States
    Code, Section 2516. I am also a Peace Officer with the Yuba County Sheriff’s
    Department and have held this position since October of 2014. Prior to my current
    assignment as a TFO, I was assigned as an Agent with the Yuba-Sutter Narcotic and
    Gang Enforcement Task Force.

18. The DEA Task Force Group, which is federally funded, is a collaborative group of
    officers and agents from the DEA and state and local law enforcement agencies including
    the Yuba County Sheriff’s Department, Sacramento Sheriff’s Department, Tracy Police
    Department, California Highway Patrol, Sacramento Police Department, El Dorado
    County District Attorney’s Office, and California Department of Corrections and
    Rehabilitation. The goal of the DEA Task Force Group is to investigate and disrupt illicit


                                               6
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 45 of 97


   drug trafficking in specified geographical areas by immobilizing the highest levels of
   targeted violators and trafficking organizations.

19. I have received over 940 hours of law-enforcement training in the Sacramento Police
    Academy. Subsequent to my academy training, I received the following POST certified
    training: Field Training Officer (40 hours), Basic Special Weapons and Tactics (80
    hours), California Specialized Training Institute (40 hours), Behavior Analysis Training
    Institute Interview and Interrogation Techniques (40 hours), CATO Chemical Agent
    Instructor (40 hours), Robert Presley Institute of Criminal Investigation- Officer-Involved
    Shooting/Force Investigations (40 hours), Robert Presley Institute of Criminal
    Investigation- Basic Gang Investigation (40 hours), Sacramento Sheriff’s Department-
    Black Gangs Update (8 hours), Robert Presley Institute of Criminal Investigation-
    Advanced Gang Investigation (40 hours), Robert Presley Institute of Criminal
    Investigation- Drug/Narcotics Investigation (80 hours), 55th Annual California Narcotics
    Officers’ Association Conference (23 hours), Behavioral Analysis Training Inc.- Outlaw
    Motorcycle Gangs (8 hours), State of California Department of Justice- Electronic
    Wiretap Surveillance (8 hours), California Narcotics Officers’ Association- Inside a
    Mexican Drug Cartel (8 hours), NES Inc.- Basic Clandestine Laboratory Safety (32
    hours), 57th Annual California Narcotics Officers’ Association Conference (23 hours),
    Los Angeles HIDTA Basic and Intermediate Undercover Techniques and Survival (36
    hours), National California Gang Investigators Association Conference (24 hours), Drug
    Enforcement Administration Task Force Officer School (40 hours), and International
    Narcotics Interdiction Association Conference (28 hours).

20. Through my training, experience, and interaction with other experienced Special Agents,
    Task Force Agents, and other drug investigators, I have become familiar with the
    methods employed by drug traffickers to smuggle, safeguard, store, transport, and
    distribute drugs, to collect and conceal drug related proceeds, and to communicate with
    other participants to accomplish such objectives. These methods include the use of
    telephones, pre-paid or debit calling cards, public telephones, wireless communications
    technology such as paging devices and cellular telephones, counter-surveillance,
    elaborately planned smuggling schemes tied to legitimate businesses, and use of codes in
    communications in an attempt to avoid detection by law enforcement. Based on my
    training and experience, I also know that violators of the controlled substances laws often
    purchase telephones or subscribe to telephone service using false names and/or other
    individuals' names to avoid detection by law enforcement.

21. In addition to my personal knowledge, this affidavit is based on (1) information I
    obtained from related investigations; (2) conversations with other law enforcement
    officers including oral and written investigative and laboratory reports that I received

                                               7
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 46 of 97


   directly or indirectly from other law enforcement officials; (3) review and analysis of
   information received from various sources, including evidence provided pursuant to
   subpoenas and search warrants, such as GPS tracking data; (4) physical surveillance
   conducted by law enforcement officials reported to me either directly or indirectly; (5) a
   review of public records, telephone toll records, and subscriber information; (6)
   information provided from confidential sources of information, cooperating defendants,
   and other sources of information working with law enforcement agencies; (7) a review of
   driver's license and automobile registration records; (8) records from various law
   enforcement databases, including but not limited to the National Law Enforcement
   Telecommunications System (“NLETS”) and the National Crime Information Center
   (“NCIC”); (9) my training and experience as a DEA TFO and/or; (10) the training and
   experience of other law enforcement officials with whom I consulted during this
   investigation and the preparation of this Affidavit.

22. This Affidavit is also based upon Title III intercepts of telephone number 916-896-8190
    (Target Telephone 1 or TT#1) and 530-575-2921 (Target Telephone 3 or TT#3), both
    used by Michael HUTCHISON and 279-386-8415 (Target Telephone 2 or TT#2), used
    by Julio SARABIA. Pursuant to those intercepts, I have reviewed transcripts and audio
    recordings of intercepted telephone calls from TT#1, TT#2, and TT#3.

23. Because this affidavit is submitted for the limited purpose of supporting the requested
    Criminal Complaint, I have not included the details of every aspect of the investigation. I
    have set forth only the facts necessary to establish probable cause to charge the
    defendants listed in this affidavit. I have not intentionally omitted information that the
    Court would need to assess probable cause for the arrest of the defendants.

                         STATEMENT OF PROBABLE CAUSE

      January 26, 2023 – CS-1 conducts initial meeting with HUTCHISON to discuss
                                   future drug deals

24. On January 26, 2023, a DEA Confidential Source (“CS-1”), placed multiple recorded
    phone calls to HUTCHISON at telephone number (530) 315-4282 (“Prior Telephone
    #1”) and arranged to meet with HUTCHISON in a Carl’s Jr parking lot, located at 3776
    Northgate Boulevard in Sacramento, for the purpose of discussing future drug deals.
    Agents observed CS-1 enter the phone number and place the calls. Agents subsequently
    monitored each of the calls between CS-1 and HUTCHISON to verify the content of the
    conversations.




                                              8
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 47 of 97


   25. CS-1 is currently working with law enforcement for monetary compensation. CS-1 has
       criminal history that includes multiple convictions, including felony convictions for
       burglary, vehicle theft, and receipt of stolen property and a conviction for dissuading a
       witness by threat or force. In this investigation, whenever possible, agents attempted to
       corroborate information provided by CS-1 through the monitoring or recording of his/her
       conversations with target subjects, conducting surveillance to verify who was involved in
       the drug deals, obtaining pen registers and ping warrants to determine who the targets
       were talking to, and, ultimately, receiving court approval to conduct Title III
       interceptions to hear what the conspirators were saying to one another in conversations
       that were unguarded and did not involve CS-1. Through these techniques, agents
       gathered extensive corroborating evidence of information provided by CS-1 in this
       investigation. Based on these efforts, I am not aware of CS-1 providing false or
       misleading information during this investigation. For these reasons, I believe CS-1 to be
       reliable in this case.

   26. At approximately 2:35 p.m. on January 26, 2023, CS-1 arrived at the Carl’s Jr parking lot
       at 3776 Northgate Boulevard to discuss future drug deals with HUTCHISON. Agents
       monitored CS-1 through an audio recording device on his/her person during the meeting,
       and a recording of the in-person meeting between CS-1 and HUTCHISON was obtained.
       At approximately 2:45 p.m., agents observed a grey Audi sedan, bearing California
       license plate 8VDR014, 1 enter the Carl’s Jr parking lot and park next to CS-1’s vehicle.
       Agents observed HUTCHISON exit the Audi sedan through the right front passenger
       door and enter CS-1’s vehicle. A short time later, agents observed HUTCHISON exit
       CS-1’s vehicle, return to the Audi sedan, and depart the Carl’s Jr parking lot.

   27. After the meeting, CS-1 told agents that CS-1 and HUTCHISON had a general discussion
       during which HUTCHISON indicated that he would sell CS-1 methamphetamine for
       $1,100 per pound and heroin for $600 per ounce. CS-1 also inquired about blue fentanyl-
       laced pills made to look like “M-30” Oxycodone tablets. HUTCHISON told CS-1 that he
       does not sell “M-30” tablets, but represented that he could acquire them and quoted CS-1
       $1,300 for a “boat” (“boat” is slang for 1,000-pill quantities tablets labeled with the “M-
       30” stamp and laced with fentanyl). HUTCHISON further stated that he would lower the
       prices on the methamphetamine, heroin, and “M-30” tablets if CS-1 were to purchase a
       bigger amounts.



       1
                The DMV registration information for the Audi sedan, bearing California license
plate 8VDR014, is listed in the name of Carlos Sanchez Jr, 8105 Haystack Drive, Sacramento,
CA. As detailed in this affidavit, Carlos Sanchez assisted in the SARABIA DTO’s ongoing drug
trafficking activities during an April 12, 2023 drug deal detailed below.

                                                 9
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 48 of 97


   28. Agents subsequently reviewed the audio recording of the meeting and confirmed the
       basics of the CS-1’s descriptions of the meeting and interaction with HUTCHISON. It
       should be noted that the actual language used in the conversation between CS-1 and
       HUTCHISON is summarized here and explained in a way that clarifies the language they
       used in speaking to one another. The summary and later summaries below are based
       upon agents’ understanding of the language and terms used by CS-1 and others in the
       recorded conversations and, at times, what CS-1 understood the conversation to mean as
       he/her understood it.

           February 3, 2023 – CS-1 purchased approximately 1,000 fentanyl-laced pills made
            to look like “M-30” Oxycodone tablets and approximately one pound of crystal
                                methamphetamine from HUTCHISON

   29. On February 3, 2023, DEA conducted a controlled purchase 2 of approximately 1,000
       fentanyl-laced pills made to look like “M-30” Oxycodone tablets and one pound of
       crystal methamphetamine from HUTCHISON using CS-1. At the direction of agents,
       CS-1 placed multiple recorded telephone calls to HUTCHISON on Prior Telephone #1.
       Agents observed CS-1 enter the phone number and place the calls; agents subsequently
       monitored each of the calls.

   30. During those calls, CS-1 negotiated to purchase approximately 1,000 fentanyl-laced pills
       made to look like “M-30” Oxycodone tablets and one pound of crystal methamphetamine
       for $2,600. CS-1 and HUTCHISON agreed to conduct the drug deal in a Walmart
       Supercenter parking lot located at 6051 Florin Road in Sacramento.

   31. At approximately 2:00 p.m. on February 3, agents observed a black Cadillac CTS bearing
       California license plate 9ACJ360 3 enter the parking lot. At approximately 2:04 p.m.,
       agents observed CS-1 arrive in the Walmart Supercenter parking lot. CS-1 entered the
       Cadillac CTS through the right front passenger door. At approximately 2:10 p.m., agents

       2
                 Except as otherwise noted, a “controlled purchase” is a drug deal conducted by a
CS under the direction of law enforcement for the purpose of acquiring evidence of drug
trafficking against the Target Subject(s). During each controlled purchase operation detailed in
this affidavit, the CS was provided with officially advanced government funds to purchase drugs,
the CS and CS’s vehicle were searched before and after the operation for weapons and
contraband, the CS was equipped with concealed audio/video recorder(s) and a transmitter,
surveillance was conducted on the CS/CS’s vehicle prior to, during, and following the operation,
and post-operation statements were taken from the CS.
       3
               The DMV registration information for the black Cadillac CTS, bearing California
license plate 9ACJ360, lists the owner as Esperanza Velazquez, 613 Maple St. #3, Sacramento,
CA.
                                                 10
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 49 of 97


       observed CS-1 exit the Cadillac CTS and return to CS-1’s vehicle. After the controlled
       purchase, CS-1 told agents that HUTCHISON grabbed a white shopping bag from
       beneath the driver’s seat and handed it to CS-1. CS-1 observed that the white shopping
       bag held a plastic bag containing crystal methamphetamine and another plastic bag
       containing the fentanyl-laced pills made to look like “M-30” Oxycodone tablets. CS-1
       stated that CS-1 handed $2,600 to HUTCHISON in exchange for the crystal
       methamphetamine and fentanyl-laced pills made to look like “M-30” Oxycodone tablets.

   32. Agents followed the Cadillac CTS and observed it drive into the Greenback Lane
       Apartments, located at 6320 Greenback Lane, Citrus Heights, California, before
       HUTCHISON entered an apartment located in the southwest structure on the second
       floor.

   33. After the drug deal, agents submitted the crystal methamphetamine and tablets purchased
       from HUTCHISON on February 3, 2023, to a DEA laboratory for analysis. The DEA lab
       confirmed the crystal methamphetamine contained a net of 447.4 grams of
       methamphetamine. The DEA lab further confirmed that the fentanyl-laced pills made to
       look like “M-30” Oxycodone tablets contained fentanyl and acetaminophen with a net
       weight of 104.9 grams.

                March 9, 2023 – CS-1 purchased approximately two pounds of crystal
                              methamphetamine from HUTCHISON

   34. On March 9, 2023, DEA conducted a controlled purchase of crystal methamphetamine
       from HUTCHISON using CS-1. At the direction of agents, CS-1 placed multiple
       recorded phone calls to HUTCHISON at telephone (530) 638-1008 (“Prior Telephone
       #2”). Agents observed CS-1 enter the phone number and place the calls; agents
       subsequently monitored each of the calls.

   35. During those calls, CS-1 negotiated to purchase two pounds of crystal methamphetamine
       from HUTCHISON later that day for $2,400. CS-1 and HUTCHISON agreed to conduct
       the drug deal in the Carl’s Jr parking lot, located at 3776 Northgate Boulevard in
       Sacramento (the same location as the initial drug-related meeting on January 26).

   36. At approximately 12:49 p.m., CS-1 arrived in the Carl’s Jr parking lot. At approximately
       1:25 p.m., agents observed a black Kia SUV bearing California license plate 8XAF443 4

       4
              The registration information on the black Kia SUV, bearing California license
plate 8XAF433, is P V Holding Corp., 5721 W. 96th Street, Los Angeles, CA. From my training
and experience, I know that this vehicle is an Avis/Budget/Payless/Zipcar rental car. An open

                                                11
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 50 of 97


       arrive in the Carl’s Jr parking lot and park directly to CS-1’s vehicle. Agents then
       observed HUTCHISON exit the Kia SUV and enter CS-1’s vehicle through the right
       front passenger door. Following the controlled purchase, CS-1 told agents that
       HUTCHISON entered CS-1’s vehicle while carrying a plastic shopping bag. CS-1 stated
       that CS-1 handed the $2,400 to HUTCHISON in exchange for the plastic shopping bag
       which contained the two pounds of crystal methamphetamine.

   37. At approximately 1:28 p.m., agents observed HUTCHISON exit CS-1’s vehicle and
       return to the KIA SUV. Agents followed the Kia SUV and observed it drive into a gated
       community located at 6503 Brando Loop, Fair Oaks, California.

   38. Agents submitted the crystal methamphetamine purchased from HUTCHISON on March
       9 to a DEA laboratory for analysis. The DEA lab confirmed the substance contained a
       net weight of 902.5 grams of methamphetamine.

              April 12, 2023 – CS-1 purchased approximately three pounds of crystal
                              methamphetamine from HUTCHISON

   39. On April 5, 2023, the Honorable Kendall J. Newman authorized activation of GPS “ping”
       intercepts on Prior Telephone #2 used by HUTCHISON, for a period of 30 days.

   40. On April 12, 2023, the DEA conducted a controlled purchase of crystal
       methamphetamine from HUTCHISON using CS-1. At the direction of agents, CS-1
       placed multiple recorded phone calls to HUTCHISON on Prior Telephone #2. Agents
       observed CS-1 enter the phone number and place the calls; agents subsequently
       monitored each of the calls.

   41. During those calls, CS-1 negotiated to purchase three pounds of crystal
       methamphetamine for $3,300 ($1,100 per pound) from HUTCHISON. CS-1 and
       HUTCHISON agreed to conduct the aforementioned drug deal in the Carl’s Jr parking lot
       located 3776 Northgate Boulevard, in Sacramento (the same location that was familiar to
       agents from the January 26 meeting and the March 9 drug deal).

   42. At approximately 11:00 a.m., and using GPS ping data for Prior Telephone #2, agents
       observed HUTCHISON drive his Cadillac CTS into the garage of 6503 Brando Loop,
       Fair Oaks, California. At approximately 5:17 p.m., agents observed HUTCHISON,
       Carlos SANCHEZ, and two other unidentified individuals enter the Cadillac CTS and
       depart 6503 Brando Loop. Agents followed the Cadillac CTS and observed the Cadillac

source search of this address reveals that it corresponds with an address for Avis Budget Car
Rental LLC.
                                                 12
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 51 of 97


       CTS arrive at the Terracina Gold Apartments, located at 4451 Gateway Park Boulevard 5
       (“Target Location 2”), Sacramento, California, and park in a parking stall.

   43. At approximately 6:00 p.m., agents observed CS-1 arrive at the Carl’s Jr parking lot. At
       approximately 6:03 p.m., agents observed Julio SARABIA exit an apartment building
       and contact HUTCHISON in the Cadillac CTS. Agents then observed SARABIA enter
       the driver’s seat of a white Buick SUV bearing California license plate 8YUZ121. 6
       HUTCHISON, SANCHEZ, and the two other individuals exited the Cadillac CTS and
       then entered the Buick SUV with SARABIA in the driver’s seat. Agents then observed
       the Buick SUV depart from the apartment complex and arrive in the Carl’s Jr parking lot.
       Agents observed it park directly next to CS-1’s vehicle. Agents observed HUTCHISON
       exit the Buick SUV and enter CS-1’s vehicle through the right front passenger door. A
       short time later, agents observed HUTCHISON exit CS-1’s vehicle and return to the
       Buick SUV. The Buick SUV then departed the Carl’s Jr parking lot. This coordinated
       cooperation to assist one another with the drug deal demonstrates the interconnected
       nature of the SARABIA DTO and MBK members and associates acting in concert to
       distribute drugs.

   44. After the controlled purchase, CS-1 told agents that HUTCHISON entered CS-1’s vehicle
       while carrying a small black backpack. CS-1 stated that CS-1 counted the $3,300 and
       handed it HUTCHISON. HUTCHISON then removed two large plastic bags containing
       the three pounds of crystal methamphetamine from inside the backpack and handed it to
       CS-1.

   45. Agents submitted the substance purchased from HUTCHISON on April 12 to a DEA
       laboratory for analysis. The DEA lab confirmed that the substance contained a net
       weight of 1,344 grams of methamphetamine.

   46. In May and June 2023, the investigation identified two travel patterns of SARABIA DTO
       members that were consistent with the pickup and transportation of large

       5
               DEA TFO Andy Cunningham was familiar with Julio SARABIA from previous
law enforcement contacts and had prior intelligence that SARABIA resided at 4451 Gateway
Park Boulevard. The events of April 12 partially corroborated this intelligence because agents
saw HUTCHINSON and SANCHEZ arriving at this address in advance of a drug deal,
consistent with HUTCHINSON and SANCHEZ picking up SARABIA and the drugs before
heading to the drug deal with CS-1.
       6
               The registration information on the white Buick SUV, bearing California license
plate 8YUZ121, is P V Holding Corp 5721 W, 96th Street, Los Angeles, 90045. From my
training and experience, I know that this vehicle is an Avis/Budget/Payless/Zipcar rental car. As
mentioned above, this address corresponds with an address for Avis Budget Car Rental LLC.
                                                 13
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 52 of 97


   methamphetamine loads. Based on the investigative steps detailed below, agents
   recovered two massive seizures of methamphetamine close in time to one another – one
   on May 19, 2023, and the other on June 6, 2023. Both seizures occurred during and in
   furtherance of the overall drug trafficking conspiracy headed by SARABIA and
   HUTCHISON. The map below provides a visual representation of the locations where
   two different SARABIA DTO couriers were arrested with the organization’s drugs.




    May 19, 2023 – Arrest of Co-Conspirator 1, a drug courier for the SARABIA DTO,
         and seizure of approximately 200 pounds of crystal methamphetamine


47. On May 4, 2023, the Honorable Jeremy D. Peterson authorized the installation and
    activation of a tracking device on HUTCHISON’s black Cadillac CTS.

48. On May 19, 2023, at approximately 6:31 p.m., law enforcement conducted a surveillance
    operation of Co-Conspirator 1, a suspected drug courier for the SARABIA DTO. While
    agents followed Co-Conspirator 1, GPS vehicle tracker data of the Cadillac CTS revealed
    that the Cadillac CTS departed 6503 Brando Loop and was travelling southbound on
    State Route 99 toward Elk Grove.
                                            14
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 53 of 97




49. At approximately 6:41 p.m., agents observed Co-Conspirator 1 arrive in the Starbucks
    parking lot in Elk Grove, and park in a parking stall. Agents then observed the Cadillac
    CTS also arrive at the Starbucks and park next to Co-Conspirator 1. Agents observed
    HUTCHISON exit the Cadillac CTS and enter Co-Conspirator 1’s vehicle through the
    right front passenger door. Agents observed HUTCHISON exit Co-Conspirator 1’s
    vehicle a few minutes later and return to Cadillac CTS. Agents then observed Co-
    Conspirator 1 and the Cadillac CTS depart the Starbucks parking lot.

50. Agents observed Co-Conspirator 1 merge onto California State Route 99 and head south.
    Agents maintained physical surveillance of Co-Conspirator 1’s vehicle as it entered
    Riverbank, California (located in Stanislaus County).

51. Agents then observed Co-Conspirator 1’s vehicle stop at a residence. Due to visual
    constraints, agents were unable to view activity in and around the vehicle. Agents next
    observed Co-Conspirator 1’s vehicle depart from the residence in Riverbank and head
    north on State Route 99.

52. With the assistance of California Highway Patrol, CHP conducted a traffic stop on Co-
    Conspirator 1’s vehicle in Stockton based upon an observed California Vehicle Code
    violation. A CHP officer deployed his controlled substance detection canine to perform a
    cursory search of the vehicle. The canine unit alerted to the presence of drugs in the
    vehicle. A subsequent search of the vehicle yielded eight large black trash bags, each
    containing a substantial amount of plastic Ziploc bags which contained crystal
    methamphetamine (approximately 217 pounds total). Officers also located two cell
    phones.

53. Agents submitted the methamphetamine seized from Co-Conspirator 1 on May 19 to a
    DEA laboratory for analysis. The DEA lab later confirmed the substances seized from
    Co-Conspirator 1’s vehicle on May 19 contained a total net weight of 89,000 grams of
    methamphetamine.

54. A subsequent proffer interview with Co-Conspirator 1 confirmed the interconnected
    relationships within the SARABIA DTO and its significant scope and scale as a
    substantial drug trafficking organization.

                           Proffer interview with Co-Conspirator 1

55. A short time after the arrest of Co-Conspirator 1, agents interviewed him/her. According
    to Co-Conspirator 1, SARABIA asked him/her on the day of the seizure (May 19, 2023)

                                             15
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 54 of 97


   if Co-Conspirator 1 could pick up drugs in Riverbank. Co-Conspirator 1 agreed to this
   proposal. Before driving to Riverbank, Co-Conspirator 1 said he/she met with
   SARABIA and HUTCHISON in a Starbucks parking lot located in Elk Grove.
   According to Co-Conspirator 1, HUTCHISON got into Co-Conspirator 1’s vehicle and
   provided Co-Conspirator 1 with a bag full of money to give to the “Mexican” who Co-
   Conspirator 1 would be meeting with in Riverbank. Co-Conspirator 1 explained that
   he/she did not know how much money was in the bag nor did Co-Conspirator 1 know
   what kind of drugs he/she was picking up. According to Co-Conspirator 1, SARABIA
   communicated with him/her over a pre-paid phone that SARABIA had given Co-
   Conspirator 1. Co-Conspirator 1 told agents that the address where he/she picked up the
   drugs from was in a text message sent by SARABIA to him/her on the pre-paid cell
   phone. Co-Conspirator 1 further told agents that he/she was supposed to pick up another
   load of drugs in Los Angeles for SARABIA on May 20, 2023 (the day after the seizure).

56. Co-Conspirator 1 told agents that he/she has known SARABIA for approximately two
    years. Co-Conspirator 1 said that SARABIA was in a dating relationship with Selena
    Torres. Co-Conspirator 1 told agents that he/she was approached by SARABIA and
    Torres sometime in January 2023 about transporting loads of drugs for SARABIA and
    Co-Conspirator 1 agreed. Agents asked Co-Conspirator 1 if Torres was also involved in
    the distribution of drugs. According to Co-Conspirator 1, he/she believed Torres was
    involved. Co-Conspirator 1 stated that SARABIA has a “direct line” (meaning direct
    communication) to drug sources.

57. Co-Conspirator 1 could not recall the number of times he/she had transported drugs at the
    direction of SARABIA but estimated it to be anywhere from five to ten times since
    January 2023. Co-Conspirator 1 told agents that SARABIA had given him/her a pre-paid
    phone in January 2023. Co-Conspirator 1 told agents that he/she used the pre-paid phone
    to communicate with SARABIA whenever he/she picked up loads of drugs for
    SARABIA. Agents asked Co-Conspirator 1 about the first few times he/she picked up
    loads of drugs for SARABIA. Co-Conspirator 1 said that during those early drug trips,
    SARABIA followed him/her in a separate vehicle and the two met with an unidentified
    Hispanic adult in a parking lot in Riverbank. Co-Conspirator 1 stated that the
    unidentified Hispanic adult loaded black trash bags full of drugs in the trunk of Co-
    Conspirator 1’s vehicle. Co-Conspirator 1 told agents that he/she never looked in the
    black trash bags to see what kind of drugs it contained nor did SARABIA ever tell Co-
    Conspirator 1. Co-Conspirator 1 stated that SARABIA stopped following him/her after
    the first few drug runs because Co-Conspirator 1 believed that he/she had earned
    SARABIA’s trust. Co-Conspirator 1 further stated that he/she has picked up and
    transported loads of drugs for SARABIA from Riverbank, Fresno, and Bakersfield.



                                             16
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 55 of 97


58. TFO Aaron Kacalek showed Co-Conspirator 1 photographs of the following individuals
    for identification purposes; the photos did not list any identifying information:

   a)      Julio SARABIA: Co-Conspirator 1 positively identified SARABIA as the person
                          who enlisted him/her to transport large loads of drugs on
                          multiple occasions since January 2023; and

   b)      Michael HUTCHISON III: Co-Conspirator 1 positively identified HUTCHISON
                                  as SARABIA’s “right hand man” in the drug
                                  business.

59. Co-Conspirator 1 described SARABIA as at the “top” (leader) of the drug trafficking
    organization, with HUTCHISON as SARABIA’s “right hand man.” Co-Conspirator 1
    described HUTCHISON as also holding a leadership role within the drug trafficking
    organization.

60. Agents asked Co-Conspirator 1 about the last time he/she transported drugs prior to
    his/her arrest on May 19. Co-Conspirator 1 said he/she picked up a load of drugs from
    the same residence in Riverbank not that long before the May 19 drug seizure. After
    picking up the load of drugs in Riverbank, Co-Conspirator 1 said he/she was directed by
    HUTCHISON to meet him at the Carl’s Jr located at 5201 Elkhorn Blvd in Sacramento.
    When Co-Conspirator 1 arrived at the Carl’s Jr parking lot, HUTCHISON guided
    him/her via telephone to a residence near the Carl’s Jr. Once at the residence, Co-
    Conspirator 1 stated that he/she met with SARABIA and HUTCHISON, who then
    proceeded to unload the black trash bags from Co-Conspirator 1’s vehicle and into the
    residence.

61. At the time of the proffer, Co-Conspirator 1 was represented by counsel and agreed to
    provide information in the hope of not being prosecuted in federal court given the higher
    penalties for such drug crimes. After receiving Co-Conspirator 1’s proffer and verifying
    material aspects of his/her information, Co-Conspirator 1 entered a guilty plea in a state
    jurisdiction.

    June 6, 2023 – Arrest of Tanya LAWSON, a second drug courier for the SARABIA
           DTO, and seizure of approximately 200 pounds of methamphetamine

62. After the May 19 seizure and arrest of Co-Conspirator 1 with methamphetamine from the
    SARABIA DTO, agents conducted a second operation a few weeks later which resulted
    in a second large seizure and arrest of a second courier operating for the SARABIA DTO.



                                              17
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 56 of 97


63. On June 6, 2023, at approximately 3:50 a.m., GPS vehicle tracker data showed the
    Cadillac CTS used by HUTCHISON and SARABIA throughout this investigation
    departing Sacramento and travelling south. At approximately 10:00 a.m., GPS vehicle
    tracker data showed the Cadillac CTS in Lancaster, California (located in northern Los
    Angeles County). Agents observed GPS ping data for Prior Telephone #2 show that
    Prior Telephone #2 was travelling with the Cadillac CTS in Lancaster.

64. At approximately 10:09 a.m., GPS vehicle tracker data indicated that the Cadillac CTS
    stopped in a Dollar General parking lot in Sun Village, California (south of Lancaster but
    also located in Los Angeles County). At approximately 10:22 a.m., GPS vehicle tracker
    data revealed that the Cadillac CTS departed the Dollar General parking lot and drove to
    the rural area of 110th Street R and E Avenue K8 in Sun Village. Per GPS vehicle
    tracker data, the Cadillac CTS stopped briefly. This location is very remote with no
    buildings or structures for miles and little to no vehicle traffic. The Cadillac CTS then
    departed the area of 110th Street E and E Avenue K8 and headed north on Interstate 5.

65. Based on my training and experience, this observed pattern of travel on June 6 was
    consistent with a drug trafficker travelling out of town to pick up their drugs with an
    immediate turnaround to avoid detection by law enforcement and minimize the risk of
    being stopped with the drugs in his/her possession. In assessing the travel pattern of the
    observed GPS vehicle tracker data for the Cadillac CTS, I formed the opinion that the
    Cadillac CTS was travelling in a manner consistent with the pickup of a drug load
    because it travelled a great distance at odd hours (starting at 3:50 a.m.), had a short stay
    in the ultimate destination (a remote residence) and then returned in a direction consistent
    with where the courier’s travel had initially begun early that morning.

66. At approximately 1:28 p.m., GPS vehicle tracker data revealed that the Cadillac CTS
    stopped at the Food Mart gas station parking lot in Bakersfield (north of Sun Village and
    Lancaster and located in Kern County). TFO Aaron Kacalek noted the Food Mart was
    located directly next to the Buttonwillow CHP office. TFO Kacalek contacted CHP
    Sergeant Basil Zuniga and requested that he drive through the Food Mart parking lot to
    verify that the Cadillac CTS was at that location and whether there were any other
    vehicles travelling in tandem with the Cadillac CTS.

67. At approximately 1:35 p.m., Sergeant Zuniga drove through the Food Mart gas station
    parking lot. Sergeant Zuniga confirmed through observation that the Cadillac CTS
    parked at the gas pumps and a 2012 black Hyundai Azera, bearing California license
    plate 9FUR846, parked directly in front of the Cadillac CTS. Per GPS vehicle tracker
    data, the Cadillac CTS departed the parking lot a short time later and again headed north
    on Interstate 5.

                                              18
     Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 57 of 97




68. At approximately 5:04 p.m., agents observed the Cadillac CTS following the Hyundai
    Azera northbound on Interstate 5 south of the 580 interchange. Agents were able to
    confirm the driver of the Cadillac CTS was HUTCHISON and the front passenger was
    SARABIA. Agents maintained physical surveillance of the Cadillac CTS and Hyundai
    Azera as they continued north on Interstate 5 towards Sacramento.

69. The observed pattern of behavior with HUTCHISON and SARABIA driving in tandem
    with the suspected drug load car (the Hyundai Azera) was consistent with drug traffickers
    who will often use an escort vehicle to maintain visual observation of their drugs and
    provide additional security if needed or a distraction if law enforcement seeks to stop the
    drug load vehicle.

70. In this case, the observed behavior of HUTCHISON and SARABIA of driving in tandem
    with the suspected load vehicle was consistent with the two conspirators driving in the
    Cadillac in order to track the movements of a valuable drug load being carried in the
    Hyundai. Moreover, the observed behavior of HUTCHISON and SARABIA travelling
    in tandem with a load car was consistent with what Co-Conspirator 1 described as the
    modus operandi for the SARABIA DTO.

71. Law enforcement conducted a traffic stop of the Hyundai Azera based upon an observed
    California Vehicle Code violation. The officer identified the driver and sole occupant of
    the Hyundai Azera as Tanya LAWSON. Another officer deployed his controlled
    substance detection canine to perform a cursory search of the vehicle. The canine unit
    alerted to the presence of drugs in the vehicle.

72. A subsequent search of the vehicle yielded seven large black trash bags and one grocery
    bag, each containing a substantial amount of plastic Ziploc bags further containing crystal
    methamphetamine (approximately 216 pounds total). The packaging of the drugs in trash
    bags and location in the trunk of the vehicle was consistent with Co-Conspirator 1’s
    description of how the drugs were loaded into his/her car when transporting loads for the
    SARABIA DTO (and the packaging seized by law enforcement from Co-Conspirator on
    May 19).

73. After the traffic stop of the Hyundai Azera, the Cadillac CTS containing HUTCHISON
    and SARABIA accelerated at a high rate of speed on Interstate 5 and headed towards Elk
    Grove. Agents observed HUTCHISON abandon the Cadillac CTS in the back of a
    shopping center in Elk Grove. Agents observed HUTCHISON and SARABIA exit the
    Cadillac CTS and walk away from the vehicle towards an unknown location.



                                              19
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 58 of 97


   74. Agents submitted the substance seized from LAWSON and the SARABIA DTO on June
       6 to a DEA laboratory for analysis. The DEA lab later confirmed the drugs in the car
       consisted of a net weight of 88,874 grams of methamphetamine.

           July 31, 2023 – CS-1 purchased approximately two pounds of methamphetamine
           and two ounces of heroin from HUTCHISON – identification of SARABIA DTO
                                     member Johnny TRUONG


       75.    On July 31, 2023, DEA conducted a controlled purchase of crystal
       methamphetamine from HUTCHISON using CS-1. At the direction of agents, CS-1
       placed multiple recorded phone calls to HUTCHISON at telephone number (916) 293-
       6113 (“Prior Telephone #3”).

   76. During those calls, CS-1 negotiated to purchase two pounds of crystal methamphetamine
       for $2,200 ($1,100 per pound) from HUTCHISON. CS-1 and HUTCHISON agreed to
       conduct the drug deal in a Carl’s Jr parking lot located at 5201 Elkhorn Boulevard in
       Sacramento.

   77. Before the drug deal, the Honorable Allison Claire authorized activation of GPS “ping”
       intercepts on Prior Telephone #3, used by HUTCHISON, for a period of 30 days.

   78. Agents observed GPS ping data for Prior Telephone #3 indicate that Prior Telephone #3
       was located at 6503 Brando Loop, in Fair Oaks. Based on this information, agents
       established surveillance in the vicinity of 6503 Brando Loop.

   79. At approximately 3:26 p.m. on July 31, agents observed HUTCHISON and a Hispanic
       female adult, later identified as Marcelina Martinez, exit 6503 Brando Loop and enter a
       2022 white Toyota Camry, bearing California license plate 9FUA744. 7 Agents observed
       HUTCHISON enter the driver seat and Martinez enter the right front passenger seat of
       the Toyota Camry. Agents then followed the Toyota Camry.

   80. At approximately 3:40 p.m., CS-1 arrived in the Carl’s Jr parking lot. At approximately
       4:23 p.m., agents observed HUTCHISON arrive to the Carl’s Jr parking lot in the Toyota
       Camry and park directly next to CS-1’s vehicle. Agents observed HUTCHISON exit the
       Toyota Camry and enter CS-1’s vehicle through the right front passenger door. A short
       time later, agents observed HUTCHISON exit CS-1’s vehicle, return to the Toyota
       Camry, and leave the Carl’s Jr parking lot. Agents observed that GPS ping data for Prior


       7
                The registration information on the white Toyota Camry, bearing California
license plate 9FUA744, is Marcelina Alaura Martinez, 8145 Wyndwillow Way, Elk Grove, CA.
                                                20
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 59 of 97


   Telephone #3 was consistent with the observed geographical location where agents saw
   HUTCHISON during surveillance. In other words, the observed movements of
   HUTCHISON matched the ping data for HUTCHISON’s Prior Telephone #3. This
   observed connection was consistent with HUTCHISON being in possession of Prior
   Telephone #3 during the drug deal.

81. After the controlled purchase, CS-1 told agents that HUTCHISON was unable to get the
    two pounds of crystal methamphetamine from his stash house because the individual who
    resides at the stash house was not home. HUTCHISON told CS-1 that he went elsewhere
    to try to acquire the two pounds of crystal methamphetamine and that he was only able to
    acquire a half pound of crystal methamphetamine. HUTCHISON handed CS-1 a plastic
    Ziploc bag containing the drugs and told CS-1 that he would charge $600 for the half
    pound of crystal methamphetamine. CS-1 stated that CS-1 counted out $600 in front of
    HUTCHISON and then handed the cash to HUTCHISON in exchange for the crystal
    methamphetamine. CS-1 stated that HUTCHISON told CS-1 that the individual who
    resides at the stash house would be home in the evening, and that HUTCHISON would
    be able to supply CS-1 with any additional crystal methamphetamine and/or heroin after
    5:00 p.m. Agents subsequently reviewed the audio recording of the buy and confirmed
    that CS-1’s descriptions of his/her conversation with HUTCHISON were consistent with
    the recorded conversations.

82. At approximately 4:53 p.m. on July 31, at the direction of agents, CS-1 negotiated to
    purchase one and a half pounds of crystal methamphetamine and two ounces of heroin for
    $2,700 with HUTCHISON over Prior Telephone #3. Agents observed CS-1 enter the
    phone number and place the calls; agents subsequently monitored each of the calls.
    During those calls, HUTCHISON agreed to conduct the drug deal at the same Carl’s Jr
    parking lot. At approximately 5:09 p.m., agents observed HUTCHISON depart the 6503
    Brando Loop residence in the Toyota Camry. Agents followed the Toyota Camry and
    observed it arrive and park in front of 6671 Hillsdale Boulevard in Sacramento.

83. At approximately 5:32 p.m., CS-1 arrived in the Carl’s Jr parking lot. At approximately
    5:40 p.m., agents observed a blue sedan pull into the driveway of the 6671 Hillsdale
    Boulevard residence. Agents observed HUTCHISON exit the Toyota Camry and meet
    with an individual who exited the blue sedan. The individual was later identified by TFO
    Kacalek as Johnny TRUONG. Agents observed HUTCHISON and TRUONG walk into
    the 6671 Hillsdale Boulevard residence through the front door. Agents then observed
    HUTCHISON exit the residence and move towards the driveway of the residence.
    Agents then observed TRUONG exit the residence and hand something to HUTCHISON.
    Agents watched HUTCHISON walk directly back to the Toyota Camry and then depart
    from the 6671 Hillsdale Boulevard residence. These observations are consistent with

                                            21
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 60 of 97


   TRUONG providing the drugs to HUTCHISON shortly before HUTCHISON goes to
   meet with CS-1 to buy the drugs.

84. Consistent with this thesis, at approximately 5:52 p.m. on July 31, agents observed
    HUTCHISON arrive in the Carl’s Jr parking lot and park directly next to CS-1’s vehicle
    before exiting the Toyota Camry and entering CS-1’s vehicle through the right front
    passenger door. Agents then observed HUTCHISON exit CS-1’s vehicle and return to
    the Toyota Camry which then departed the Carl’s Jr parking lot.

85. After the controlled purchase, CS-1 told agents that HUTCHISON handed CS-1 a plastic
    Ziploc bag containing one and a half pounds of crystal methamphetamine and a plastic
    sandwich bag containing two ounces of heroin. CS-1 stated that he/she then handed the
    $2,700 to HUTCHISON in exchange for the crystal methamphetamine and heroin.

86. Agents sent the crystal methamphetamine and heroin to a DEA laboratory for analysis.
    The DEA lab confirmed the substances sold by HUTCHINSON on July 31. The DEA
    lab confirmed that the methamphetamine seized from the first drug buy on July 31,
    contained a net weight of 223.2 grams of methamphetamine. The DEA lab confirmed
    that the heroin sold by HUTCHISON on July 31 contained a net weight of 50.9 grams of
    heroin.

87. The final weight for the second purchase of crystal methamphetamine is still pending.
    However, based on my training and experience, I believe the substance was crystal
    methamphetamine based upon the course of dealings with HUTCHISON, including the
    confirmed methamphetamine in the previous drug deals.




                                            22
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 61 of 97


            September 16, 2023 – Law enforcement arrest Johnny TRUONG based upon a
            search warrant at the 6671 Hillsdale Boulevard stash house – they seize a large
                                  amount of drugs and one firearm

   88. On September 16, 2023, at approximately 6:30 a.m., GPS ping data for Prior Telephone
       #3 indicated that HUTCHISON was travelling south on Interstate 5. At approximately
       7:30 a.m., TFO Kacalek reviewed the GPS data and observed that HUTCHISON’s
       telephone was located at the Black Bear Diner in Buena Park, California (located in
       northern Orange County, California). A short time later, GPS data indicated that
       HUTCHISON’s telephone was travelling back northbound in a path of travel consistent
       with going to Sacramento.

   89. At approximately 5:47 p.m., GPS data indicated that HUTCHISON’s telephone was
       located at the 6671 Hillsdale Boulevard stash house in Sacramento. Around the same
       time, I observed a black Honda Accord, bearing California license plate 8LBR382, 8
       backed into the driveway of the 6671 Hillsdale Boulevard residence via a pole camera.

   90. TFO Kacalek drove by the 6671 Hillsdale Boulevard stash house and saw HUTCHISON
       sitting in the right front passenger seat and an unidentified female sitting in the driver seat
       of the Honda Accord. TFO Kacalek ran a search of the Honda Accord’s license plate
       number through a License Plate Reader (LPR) database system to see where that vehicle
       had been earlier that day. The LPR database reported data showing that the Honda
       Accord license plate scanned in Huntington Beach, California, at 7:11 a.m. that same
       morning. This information was consistent with the Honda Accord being driven to
       Sacramento from Southern California area that same day.

   91. Based on my training, experience, knowledge of this investigation, and the inference
       drawn from the data provided from the LPR and the observations of surveillance agents, I
       suspected that HUTCHISON drove to Southern California in order to pick up a load of
       drugs and had the unidentified female in the black Honda Accord drive the load of drugs
       back to the 6671 Hillsdale Boulevard stash house. Later that day, a Sacramento Superior
       Court Judge authorized a search warrant for the 6671 Hillsdale residence.

   92. At approximately 10:55 p.m., members of the Sacramento County Sheriff’s Department
       executed the search warrant at the 6671 Hillsdale residence. Law enforcement located
       Johnny TRUONG, Amanda Bartels, and Kailani Bautista inside the residence.




       8
               The registration information on the black Honda Accord, bearing California
license plate 8CPV723, is Camron Lee, 3325 May Street, Sacramento, CA.
                                                   23
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 62 of 97


93. A subsequent search of the residence yielded approximately 34 pounds of suspected
    crystal methamphetamine, five pounds of suspected cocaine, three pounds of heroin, and
    one firearm. TRUONG was subsequently arrested for drug and firearm related offenses.

94. Agents sent the crystal methamphetamine, cocaine, and heroin seized from TRUONG at
    6671 Hillsdale on September 16, 2023, to a DEA laboratory for analysis. The substances
    were later confirmed to be methamphetamine, cocaine, and heroin. The crystal
    methamphetamine had a net weight of 13,744.6 grams. The cocaine had a net weight of
    1,420.69 grams. The heroin had a net weight of 2,421.2 grams.

         November 1, 2023 – CS-1 purchased approximately four pounds of crystal
                         methamphetamine from HUTCHISON


95. On October 31, 2023, at the direction of agents, CS-1 placed a recorded phone call to
    HUTCHISON at telephone number (279) 237-0821 (Prior Telephone #4). During the
    call, CS-1 stated, “…i’m gonna be down there tomorrow, imma be at you probably
    around the afternoon time” (in reference to CS-1 wanting to see HUTCHISON the
    following day to purchase crystal methamphetamine) and HUTCHISON responded, “it’s
    all good I’m waiting on you.” A short time later, CS-1 received a text message from
    HUTCHISON from Prior Telephone #4 which read, “Give me a call before u head out
    here bro its good.” Agents subsequently monitored the call and text message responses.

96. On November 1, 2023, at approximately 1:45 p.m., at the direction of agents, CS-1
    placed multiple recorded phone calls to HUTCHISON on Prior Telephone #4. Agents
    observed CS-1 enter the phone number and place the calls; agents subsequently
    monitored each of the calls.

97. During these calls, CS-1 told HUTCHISON that CS-1 would be in “Sac” (Sacramento) in
    thirty minutes and that CS-1 wanted to grab “three of those” (in reference to three pounds
    of crystal methamphetamine). HUTCHISON responded, “aight, yup.” CS-1 asked
    HUTCHISON, “same spot by Carl’s jr?” and HUTCHISON stated, “let me hit you back
    and tell you where to go.” A short time later, CS-1 received a text message from
    HUTCHISON from Prior Telephone #4 which read, “3501 truxel rd 9583 (in reference to
    where HUTCHISON wanted to meet CS-1). This address was identified as an In-N-Out.

98. At approximately 2:26 p.m. on November 1, 2023, CS-1 received a text message from
    HUTCHISON from Prior Telephone #4 which read, “You there?” and CS-1 responded,
    “Almost there fam.”



                                             24
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 63 of 97


 99. At approximately 2:46 p.m., CS-1 arrived in the In-N-Out parking lot. A short time later,
     CS-1 placed a recorded phone call to HUTCHISON on Prior Telephone #4. During this
     call, CS-1 asked HUTCHISON, “where you at?” and HUTCHISON responded, “give me
     like twenty minutes… I’m just right here making it out,” (meaning HUTCHISON was
     weighing the crystal methamphetamine).

100. At approximately 3:24 p.m., CS-1 received a call from HUTCHISON from Prior
     Telephone #4. During this call, HUTCHISON asked CS-1 if CS-1 had a “scale” and CS-
     1 stated, “I do not.” HUTCHISON then said, “my scale fucking just died on me right
     now, I only just got two’s.” CS-1 responded, “oh, you only have two right now?”
     (meaning two pounds of crystal methamphetamine) and HUTCHISON stated, “I got four
     of them though, but they in two’s... you know what I am talking about?” (in reference to
     HUTCHISON’s supply being packaged in kilogram quantities). CS-1 told HUTCHISON
     that CS-1 only needed “three of them” (in reference to three pounds of crystal
     methamphetamine) and HUTCHISON said, “I know, I can’t split any of them right now.”
     HUTCHISON then asked CS-1 if CS-1 could purchase a scale and CS-1 told
     HUTCHISON that CS-1 was going to try to find one.

101. At approximately 3:26 p.m. on November 1, at the direction of agents, CS-1 placed a
     recorded phone call to HUTCHISON on Prior Telephone #4. During this call, CS-1 told
     HUTCHISON, “you can slide me four and I can bring you back some cash on the other
     whole one” (asking HUTCHISON if he could front CS-1 an additional pound and that
     CS-1 would pay HUTCHISON back at a later date). HUTCHISON responded, “for sure
     though, brotha?” and CS-1 said, “yeah, for sure, 100%, I’ll be back to see you.”
     HUTCHISON then stated, “it’s good for sure then. I’ll be there right now.” Agents
     subsequently reviewed the audio recordings of these calls and confirmed the details of the
     conversations.

102. At approximately 3:45 p.m., agents observed a black Tesla sedan park directly next to
     CS-1’s vehicle. Agents observed the driver of the Tesla sedan exit the vehicle carrying a
     white bag and enter the CS-1 vehicle through the right front passenger door. Agents then
     observed a Hispanic male juvenile (“J.A.”) exit CS-1’s vehicle, re-enter the Tesla sedan,
     and depart the In-N-Out parking lot. Following the controlled purchase, CS-1 told agents
     that a Hispanic male juvenile entered CS-1’s vehicle while carrying a white bag. TFO
     Torres showed CS-1 a Sacramento County Juvenile booking photograph of J.A. (16-year-
     old male) for identification purposes; the photograph did not contain any
     identifying information. CS-1 positively identified the Hispanic male juvenile as J.A.
     CS-1 stated that CS-1 paid J.A. $4,050 in exchange for the four pounds of crystal
     methamphetamine. CS-1 told J.A. that CS-1 would pay HUTCHISON for the extra



                                               25
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 64 of 97


     pound of crystal methamphetamine in the upcoming week. Agents subsequently
     reviewed the audio recording of the buy and confirmed CS-1’s description of events.

103. Agents followed the Tesla sedan as it made its way to the vicinity of John Glenn Way, in
     Sacramento. The Tesla sedan parked beside a park, right behind a black Honda Accord,
     bearing California license plate 8LBR382. Agents observed J.A. exit the Tesla sedan and
     enter the Honda Accord through the right front passenger door. A short time later, agents
     observed J.A. exit the Honda Accord and re-enter the Tesla sedan which then departed
     the area. Agents briefly followed the Honda Accord and positively identified
     HUTCHISON as the driver and sole occupant of the vehicle.

104. Agents sent the drugs sold by the SARABIA DTO through a Hispanic juvenile male as
     supervised by HUTCHISON on November 1 to a DEA laboratory for analysis. The DEA
     lab later confirmed that the substance a net weight of 1,789.6 grams of
     methamphetamine.

       November 7, 2023 –CS-1 paid HUTCHISON the remainder of the cost of the four
            pounds of crystal methamphetamine owed from the November 1 deal

105. On November 6, 2023, at the direction of agents, CS-1 placed a recorded phone call to
     HUTCHISON on Prior Telephone #4. During this call, CS-1 stated, “I got that dough for
     you man, I’ll be in town tomorrow” (in reference to the $1,350 owed to HUTCHISON
     for the extra pound of crystal methamphetamine that HUTCHISON provided to CS-1 on
     November 1, 2023). HUTCHISON responded, “all good, I’m waiting on you.” Agents
     subsequently monitored the call.

106. On November 7, 2023, at approximately 1:31 p.m., at the direction of agents, CS-1
     placed multiple recorded phone calls to HUTCHISON over Prior Telephone #4. Agents
     observed CS-1 enter the phone number and place the calls; agents subsequently
     monitored each of the calls.

107. During these calls, CS-1 stated, “I’ll be out there probably in like thirty minutes or so…
     you wanna meet at that same little spot?” HUTCHISON responded, “there’s an In-N-Out
     right of Del Paso, right when you get out here.” (in reference to where HUTCHISON
     wanted to meet CS-1, the In-N-Out, located at 2900 Del Paso Road in Sacramento). CS-
     1 stated, “yup, Del Paso Road, I know where that one is at… I’ll hit you when I get
     there.” HUTCHISON then stated, “aight.”

108. At approximately 2:00 p.m., CS-1 arrived in the In-N-Out parking lot. A short time later,
     agents observed HUTCHISON arrive in a black Honda Accord, bearing California

                                               26
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 65 of 97


     license plate 8LBR382, and park directly next to CS-1’s vehicle. Agents observed CS-1
     exit CS-1’s vehicle, walk to the driver side of the Honda Accord, interact verbally with
     HUTCHISON, hand HUTCHISON the $1,350, then walk back to CS-1’s vehicle.
     Agents observed HUTCHISON depart the In-N-Out parking lot after the meeting ended.

           January 16, 2024 – CS-1 purchased approximately five pounds of crystal
                           methamphetamine from HUTCHISON

109. On January 2, 2024, the Honorable Carolyn K. Delaney authorized activation of GPS
     “ping” intercepts on telephone number (916) 606-2247 (TARGET TELEPHONE 1).

110. On January 10, 2024, at the direction of agents, CS-1 placed a recorded phone call to
     HUTCHISON over TARGET TELEPHONE 1. Agents were able to monitor the call
     and confirm that the telephone dialed was TARGET TELEPHONE 1 because the
     recorded phone calls are recorded on a secure law enforcement server.

111. During this call, CS-1 told HUTCHISON that CS-1 was hoping to see HUTCHISON the
     following week. CS-1 then asked HUTCHISON, “you good with five?” (in reference to
     CS-1 wanting to purchase five pounds of crystal methamphetamine). HUTCHISON
     responded, “hell yeah, it’s good, you already know… it’s more than good” (meaning that
     HUTCHISON would have five pounds of crystal methamphetamine available). CS-1
     then asked HUTCHISON if he would sell CS-1 the five pounds of crystal
     methamphetamine for “five flat” ($5,000) and HUTCHISON said “fifty cents on each
     one” (meaning that HUTCHISON would sell the CS-1 a pound of crystal
     methamphetamine for $1,050 for a total of $5,250 for five pounds). CS-1 and
     HUTCHISON agreed on that price and a future drug deal.

112. On January 15, 2024, at the direction of agents, CS-1 placed a recorded phone call to
     HUTCHISON over TARGET TELEPHONE 1. Agents were able to instantaneously
     monitor the call and confirm that the telephone dialed was TARGET TELEPHONE 1
     because the recorded phone call was recorded on a secure law enforcement server.

113. During this call, CS-1 told HUTCHISON that CS-1 was going to be in town the
     following day at around 2 or 3 p.m. (for the drug deal that CS-1 and HUTCHISON
     arranged on January 10). HUTCHISON said, “it’s all good, I’m waiting on you.” CS-1
     then stated, “as soon as I slide into town I’ll hit you” and HUTCHISON stated, “aight,
     bet.”

114. On January 16, 2024, at the direction of agents, CS-1 placed a recorded phone call to
     HUTCHISON over TARGET TELEPHONE 1. Agents observed CS-1 enter the phone

                                              27
           Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 66 of 97


       number and place the call; agents subsequently monitored the call. During this call, CS-1
       asked HUTCHISON if he wanted to meet CS-1 at the “In-N-Out off of Del Paso Road,
       the same spot?” and HUTCHISON responded, “uh, let me call you right back and tell
       you exactly where we are gonna meet at.” CS-1 then told HUTCHISON that CS-1 was
       heading to the In-N-Out because he had to go to “Yuba” (Yuba County) right after and
       HUTCHISON responded, “alright, for sure.” CS-1 and HUTCHISON agreed to conduct
       the transaction in the In-N-Out parking lot, located at 2900 Del Paso Road in Sacramento.

 115. At approximately 1:55 p.m., GPS pings from TARGET TELEPHONE 1 showed that
      TARGET TELEPHONE 1 was in the vicinity of the Irongate Apartments, located at
      3301 Arena Boulevard, in Sacramento. 9 Agents then established surveillance in the area
      of the Irongate Apartments and also the In-N-Out parking lot.

 116. At approximately 2:42 p.m., a separate DEA Confidential Source (hereafter referred to as
      “CS-3”) 10 drove CS-1 in CS-1’s vehicle to the agreed upon meet location. CS-1 and CS-
      3 arrived in the In-N-Out parking lot a short time later with agents observing their
      movements in anticipation of the drug deal.

 117. At approximately 2:49 p.m., agents observed a female adult, later identified as
      Mulan KEOPHIMANH, and HUTCHISON exiting the vicinity of apartment #100.
      Agents observed KEOPHIMANH and HUTCHISON walk to a gray 2023 Toyota Camry,
      bearing California license plate 9HLR414, 11 parked in a designated spot within the
      apartment complex. Agents observed KEOPHIMANH enter the driver’s seat and
      HUTCHISON enter the right front passenger seat of the Toyota Camry. Agents observed
      the Toyota Camry depart the apartment complex immediately thereafter.

 118. At approximately 2:57 p.m., GPS pings from TARGET TELEPHONE 1 indicated that
      TARGET TELEPHONE 1 was travelling east on I-80 near Norwood Avenue. At

       9
                Agents had previously determined that 3301 Arena Boulevard was
HUTCHISON’s residence using authorized GPS “pings” and physical surveillance. However, it
was not until the conclusion of the controlled purchase on January 16, 2024, that agents were
able to confirm the specific apartment number where HUTCHISON was living.
       10
              CS-3 is currently working with law enforcement for monetary compensation. CS-
3 has no known prior criminal convictions. I am not aware of CS-3 providing false or
misleading information during this investigation. For these reasons, I believe CS-3 to be reliable
in this case.
       11
                The DMV registration information for the gray 2023 Toyota Camry, bearing
California license plate 9HLR414, listed Vongthanousone Sanethavong at 2970 Frigate Bird
Drive, Sacramento, CA.
                                                 28
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 67 of 97


     approximately 3:11 p.m., GPS pings from TARGET TELEPHONE 1 showed that
     TARGET TELEPHONE 1 was at 3633 Dayton Street, in Sacramento, within a 28-
     meter accuracy.

119. At approximately 3:29 p.m., agents observed the Toyota Camry arrive in the In-N-Out
     parking lot and park directly next to CS-1’s vehicle. Agents observed HUTCHISON exit
     the Toyota Camry and enter CS-1’s vehicle through the rear driver side door. Agents
     observed HUTCHISON exit CS-1’s vehicle and lean into the Toyota Camry. Agents
     then observed HUTCHISON re-enter CS-1’s vehicle through the rear driver side door.
     Agents then observed HUTCHISON exit CS-1’s vehicle, return to the Toyota Camry, and
     depart the In-N-Out parking lot.

120. After the controlled purchase, CS-1 told agents that HUTCHISON entered CS-1’s vehicle
     while carrying a red backpack. CS-1 stated that CS-1 counted $5,300 and handed it over
     to HUTCHISON. CS-1 stated that HUTCHISON took out a white bag containing the
     crystal methamphetamine from the red backpack and placed it on the rear passenger seat.
     CS-1 stated that HUTCHISON then exited CS-1’s vehicle to retrieve change ($50) for
     CS-1 before re-entering CS-1’s vehicle and handing over $50 in cash to CS-1.

121. Agents followed the Toyota Camry and subsequently observed it arrive at the Irongate
     Apartments. Agents observed the Toyota Camry park in the same parking stall within the
     apartment complex. Agents further observed KEOPHIMANH and HUTCHISON exit
     the Toyota Camry and walk towards apartment #100. Immediately thereafter, agents
     observed a 2016 Honda Accord, bearing California license plate 8CPV723, arrive and
     park in close proximity of apartment #100. Agents observed Julio SARABIA exit the
     Honda Accord and meet up with KEOPHIMANH and HUTCHISON. Agents then
     observed KEOPHIMANH, HUTCHISON, and SARABIA enter apartment #100.

122. The timing of SARABIA’s arrival after HUTCHISON and KEOPHIMANH completed
     the drug deal with CS-1 is consistent with SARABIA arriving to collect his portion of the
     drug money from HUTCHISON because HUTCHISON had, at that point, been
     successful in selling drugs that SARABIA likely provided to HUTCHISON either on
     credit or as part of their ongoing drug trafficking partnership.

123. Agents submitted the substance purchased from the SARABIA DTO through
     HUTCHISON on January 16, 2024, to a DEA laboratory for analysis. The DEA lab
     confirmed the substance contained a net weight of 2,228 grams of methamphetamine.




                                              29
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 68 of 97


        Wiretap Investigative Phase – HUTCHISON used TARGET TELEPHONE 1 to
         conduct drug trafficking business with multiple SARABIA DTO members,
                                     including SARABIA


124. On February 12, 2024, the Honorable Troy L. Nunley authorized the interception of wire
     and electronic communication over TARGET TELEPHONE 1. DEA began
     interceptions on February 13, 2024.

125. The intercepted calls and text messages described below occurred in English.
     Throughout this Affidavit, I have relied primarily on the transcriptions of contract
     monitors, as well as in some instances on summaries of calls prepared by the monitors.
     The summaries are offered based upon the interpretations of investigators based upon the
     totality of the investigation and information gathered about how the SARABIA DTO
     operates.

126. On February 15, 2024, at approximately 7:49 p.m., HUTCHISON made an outgoing call
     over TARGET TELEPHONE 1 to 916-370-0563 (“SARABIA Prior Telephone #1”),
     later identified as being used by SARABIA through physical surveillance. During this
     intercepted call, SARABIA asked HUTCHISON, “Do you have some little bit of bread at
     home?” HUTCHISON then responded, “Yeah.” SARABIA then said, “Alright,” and
     later asked, “where do you want me to meet you at in a minute?” HUTCHISON
     responded, “Pull up to the house right now.” SARABIA then stated, “Alright, give me
     like forty-five minutes though.”

127. Based on my training and experience and participation in this investigation, I know that
     the word “bread” is often used by drug traffickers as code for money or drug proceeds.
     Based on this intercepted call and experience with this investigation, I believe that
     SARABIA called HUTCHISON to collect money (“bread”) from the sale of drugs. It is
     worth noting that although SARABIA and HUTCHISON did not know they were being
     wiretapped, they still used coded language to communicate about their criminal activities.
     Their coded language is shared and did not require additional explanation or clarification
     when they engaged in this type of communication during the wiretap. This underscores
     their trust within the high-risk world of drug trafficking and their ongoing partnership in
     drug trafficking.

128. On February 16, 2024, at approximately 5:56 p.m., HUTCHISON made an outgoing call
     over TARGET TELEPHONE 1 to SARABIA Prior Telephone #1. During this
     intercepted call, HUTCHISON stated that he had just saw “Lino” at the car wash.
     SARABIA stated that “Claudine” told him (SARABIA) that “Lino” had the “the blues,
     the thirties, the real ones.” I believe the two men are referring to fentanyl-laced tablets

                                                30
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 69 of 97


     made to look like “M-30” Oxycodone tablets. SARABIA explains that “Lino” was
     keeping this (the M-30 pills) hidden from SARABIA. This intercepted call is an example
     of the close relationship of mutual trust between SARABIA and HUTCHISON. In this
     call, HUTCHISON provided information to SARABIA about another drug trafficker
     (“Lino”) and his behavior in concealing from SARABIA that “Lino” had access to
     fentanyl-laced pills for distribution.

129. Later in the call, SARABIA mentioned that he had just talked to “them” (an unknown
     third party) and that “they” are going to drive out there the 20th. HUTCHISON then
     asked, “she didn’t need a ride out there no more?” to which SARABIA stated that the
     “daughter” is going to take “her.”

130. On February 17, 2024, at approximately 4:36 p.m., HUTCHISON received an incoming
     call over TARGET TELEPHONE 1 from 707-655-6658, used by Michael
     HUTCHISON Jr, identified as HUTCHISON’s father. During this intercepted call,
     HUTCHISON Jr told HUTCHISON that “Michelle wants to talk to you real quick;” in
     the background a female voice could then be heard saying, “no just ask him.”
     HUTCHISON Jr then stated “Um, anyways, she has somebody that wants to get a ‘P’ of
     white,” which I believe is in reference to a pound of crystal
     methamphetamine. HUTCHISON Jr then stated that “Vincent said thirteen” ($1,300)
     and then asked, “is he taxing on us or what?” HUTCHISON responded, “I can give it to
     her for a little better than that.” HUTCHISON Jr then responded, “She said how
     much?” HUTCHISON then stated, “Uh, tell her she can give me eleven” ($1,100).

131. Based on this intercepted call, I believe that HUTCHISON Jr was inquiring about the
     cost of a pound of crystal methamphetamine.

132. A short time later, HUTCHISON placed an outgoing call from TARGET TELEPHONE
     1 to SARABIA Prior Telephone #1. During this intercepted call, HUTCHISON told
     SARABIA, “I need some food, hey I need to grab some food,” which I believe is a
     reference to drugs. SARABIA said, “you know where to go.” HUTCHISON then asked
     SARABIA, “what just call you or, or are you going to give me her number?” SARABIA
     advised HUTCHISON: “no just walk up.” Like the call discussed above, the ease with
     which SARABIA and HUTCHISON communicate in coded terms emphasizes their high
     level of trust in one another and familiarity with each other while they are engaged in
     committing serious criminal offenses.

133. Based on this intercepted call, agents established surveillance in the vicinity of
     HUTCHISON’s residence because agents believed that HUTCHISON was on his way to
     a stash location where drugs available for distribution were stored.

                                             31
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 70 of 97




134. At approximately 5:17 p.m., HUTCHISON placed an outgoing call from TARGET
     TELEPHONE 1 to SARABIA Prior Telephone #1. During this intercepted call,
     HUTCHISON told SARABIA, “I just seen this nigga again.” SARABIA then asked “the
     same nigga?” HUTCHISON stated “and he was following us again.” HUTCHISON later
     stated, “At the light, bitch, on god I’m going left to go to the freeway. Bitch, on god, he’s
     coming from across. They came from across, bitch. On god, bitch and I turned left and
     she turns right. On god, he’s playing with me now, bitch. We hop on the freeway, bitch,
     on god I get off on Garden Highway, I go right, bitch on god. Bitch, she gets off and
     goes right, I flipped it on her, on god. [U/I] and keeps going but he started hitting his
     brakes.” SARABIA later directed HUTCHISON to “Pull up on his bitch ass. Pull up on
     him and be like ‘I know you watching me, nigga,’” HUTCHISON said, “hell
     no.” SARABIA later advised HUTCHISON, “Yeah, don’t go there, bro,” which agents
     believe is a reference to the stash location where HUTCHISON was going to pick up
     “food” (drugs). HUTCHISON then agreed by stating, “I’m not, for sure not,
     brother.” SARABIA then told HUTCHISON, “we gotta chill, bitch.” HUTCHISON
     responded “Yeah, we gotta get out of this car.” SARABIA then reiterated, “We gotta
     chill, bitch. They know the spots.” HUTCHISON later stated, “Gotta go put those
     bitches away, brotha,” which I believe is a reference to drugs being removed and placed
     elsewhere in order to avoid the drugs being seized by law enforcement. HUTCHISON
     later stated “It’s the car or that thing that I’m telling you. They probably don’t even need
     that bitch like this good. They got GPS,” which I believe is a reference to a GPS vehicle
     tracker, and then SARABIA agreed stating, “Yup.”

135. Based upon this intercepted call and experience with this investigation, I believe that
     HUTCHISON was aware of surveillance, was on high alert, and was under the
     impression that his vehicle was equipped with a GPS tracker and/or police were
     conducting surveillance of him. This call also demonstrates how HUTCHISON and
     SARABIA keep each other apprised of outside threats to the SARABIA DTO, including
     detection or infiltration by law enforcement.

           February 22, 2024 – CS-4 purchased approximately two pounds of crystal
            methamphetamine from SARABIA DTO member Jose HERNANDEZ

136. On February 7, 2024, the Honorable Allison Claire authorized the activation of GPS
     “ping” intercepts on telephone number (916) 968-6729, used by Jose HERNANDEZ.




                                                32
         Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 71 of 97


 137. On February 21, 2024, at the direction of agents, CS-4 12 placed a recorded call to
      HERNANDEZ on telephone number (916) 968-6729. During the call, CS-4 mentioned
      that CS-4 wanted to meet Jose HERNANDEZ the next day to purchase two pounds of
      crystal methamphetamine. Jose HERNANDEZ agreed and quoted a price of $2,400 for
      the two pounds of crystal methamphetamine.

 138. On February 22, 2024, at approximately 10:20 a.m., the authorized GPS “ping” on (916)
      968-6729 indicated that Jose HERNANDEZ was 2710 Edgewater Court, West
      Sacramento, California. This is the known residence for Jose HERNANDEZ. 13 Agents
      then established surveillance in the vicinity of Jose HERNANDEZ’s residence.

 139. At approximately 11:06 a.m., agents observed Jose HERNANDEZ’s Jeep Cherokee (CA
      9GER788) exit from within the garage and depart the residence. Agents maintained
      constant surveillance of the vehicle as it travelled.

 140. At approximately 11:25 a.m., agents observed the Jeep Cherokee arrive at 3160 Del Paso
      Road in Sacramento and park on the street in front of the residence. Agents then observed
      Jose HERNANDEZ exit the Jeep Cherokee and enter a motorhome stored in the front
      yard of the property. Agents then observed Jose HERNANDEZ exit the motorhome
      carrying an unknown item, re-enter the vehicle, and depart the area. Agents maintained
      constant surveillance of the vehicle as it travelled.

 141. At approximately 12:07 p.m., at the direction of agents, CS-4 placed a recorded call to
      Jose HERNANDEZ. During the call, Jose HERNANDEZ and CS-4 agreed to conduct
      the drug deal at the Natomas Marketplace shopping center, located at 3661 Truxel Road
      in Sacramento.




       12
                CS-4 is cooperating with the DEA SDO Task Force in hopes of receiving
monetary compensation. CS-4 has no pending criminal cases but does have a prior criminal
history, which includes conspiracy to distribute crystal methamphetamine, possession of a
controlled substance for sale, possession of a controlled substance, illegal entry into the U.S., and
false identification to a peace officer. CS-4 does not have a history of providing false
information in this case. For these reasons, I consider CS-4 to be truthful and reliable in this
case.
       13
               Agents had previously determined that 2710 Edgewater Court was Jose
HERNANDEZ’s residence using authorized GPS “pings” and physical surveillance.
Furthermore, inquiries from commercial databases indicated that Destiny HUTCHISON was
associated with this address. Destiny HUTCHISON is Jose HERNANDEZ’s girlfriend with
whom he also has a child and, in turn, Destiny HUTCHISON is Michael HUTCHISON’s sister.
                                                   33
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 72 of 97


142. At approximately 12:22 p.m., agents observed the Jeep Cherokee arrive at 1448
     Tradewinds Avenue and park in the driveway of the residence. Agents then observed
     Jose HERNANDEZ exit the Jeep Cherokee, walk towards the attached residence at the
     back, and enter the attached residence through the front door. This specific unit was later
     confirmed to be 1448 Tradewinds Avenue unit B. A short time later, agents observed
     Jose HERNANDEZ exit the residence, re-enter the Jeep Cherokee, and depart the area.

143. At approximately 12:27 p.m., CS-4 drove to the Natomas Marketplace shopping center
     and parked CS-4’s vehicle on the northeast side of the lot.

144. At approximately 12:40 p.m., at the direction of agents, CS-4 placed a recorded call to
     Jose HERNANDEZ. During the call, CS-4 informed Jose HERNANDEZ that he/she was
     parked by the Ross store. Agents then observed Jose HERNANDEZ arrive in the Jeep
     Cherokee. Agents observed Jose HERNANDEZ park the Jeep Cherokee in front of CS-
     4’s vehicle. Agents then observed Jose HERNANDEZ exit the Jeep Cherokee and enter
     CS-4’s vehicle through the front passenger door.

145. At approximately 12:43 p.m., agents observed HERNANDEZ exit CS-4’s vehicle, re-
     enter the Jeep Cherokee, and depart the area.

146. After the controlled purchase, CS-4 told agents that Jose HERNANDEZ arrived and
     parked directly in front of CS-4’s vehicle. CS-4 stated that Jose HERNANDEZ entered
     CS-4’s vehicle through the front passenger door. Upon entering, CS-4 said Jose
     HERNANDEZ removed two heat sealed plastic bags from the front of his pants and
     handed them to CS-4. CS-4 stated that s/he then gave Jose HERNANDEZ the $2,400 for
     the crystal methamphetamine.

147. Agents submitted the substance purchased from Jose HERNANDEZ and the SARABIA
     DTO on February 22, 2024, to a DEA laboratory for analysis. The DEA lab later
     confirmed it contained a net weight of 895.90 grams of methamphetamine.

148. Authorized GPS “pings” and vehicle tracker data for Jose HERNANDEZ, HUTCHISON,
     and SARABIA showed numerous stops at 1448 Tradewinds Avenue. All of these stops
     were very brief, lasting only a few minutes, mirroring the observations made by agents
     during the controlled purchase with CS-4 (as detailed above).




                                                34
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 73 of 97


February 24, 2024 – HUTCHISON intercepted and surveilled selling methamphetamine
                        supplied by Jose HERNANDEZ

149. On February 24, 2024, at approximately 7:05 p.m., HUTCHISON received an incoming
     call on TARGET TELEPHONE 1 from 530-443-6889, used by Tanrya Matter. During
     this intercepted call, Matter asked, “what’s the prices looking like?” HUTCHISON
     responded that he would sell her a “whole one,” which I believe is reference to a pound
     of crystal methamphetamine, for “11” ($1,100). HUTCHISON and Matter agreed to
     meet off “Truxel” (Truxel Road), and Matter was instructed to leave her residence in 20–
     25 minutes.

150. A short time later, HUTCHISON received an incoming call on TARGET
     TELEPHONE 1 from Matter. During this intercepted call, Matter asked HUTCHISON
     if it was okay for her to leave, and HUTCHISON said go ahead but mentioned that he
     had to meet “somebody” first. Matter then said that she only wanted “half,” which I
     believe is reference to a half pound of crystal methamphetamine, and not a “whole one.”

151. At approximately 8:54 p.m., authorized GPS tracker data on Jose HERNANDEZ’s brown
     Jeep Cherokee (CA 9GER788) showed it arriving at HUTCHISON’s residence. Before
     that, the GPS tracker revealed a quick stop at 1448 Tradewinds Avenue in Sacramento.
     At approximately 9:00 p.m., the GPS tracker indicated that the Jeep Cherokee had
     departed from HUTCHISON’s residence. HUTCHISON then placed an outgoing call to
     530-443-6889, used by Tanrya Matter. During this intercepted call, HUTCHISON
     informed Matter that he was one exit away. Matter mentioned that she was parked by the
     Ross store in a silver Volvo.

152. Based on this information, agents established surveillance in the Ross parking lot and
     observed the Jeep Cherokee arrive. HUTCHISON got out of the front passenger seat,
     met with Matter, and returned back to the Jeep Cherokee. The Jeep Cherokee left the
     parking lot immediately, and the GPS tracker showed it travelling back to
     HUTCHISON’s residence.

153. Based on this intercepted call, experience with this investigation, and surveillance
     observations, I believe that HERNANDEZ supplied HUTCHISON with the half pound of
     crystal methamphetamine, which HUTCHISON then sold to Matter. Furthermore, I
     believe that HERNANDEZ picked up the half pound of crystal methamphetamine from
     1448 Tradewinds Avenue based upon his travel movements, as recorded by the GPS data
     and the sequence of intercepted calls in the timeline leading to HUTCHISON’s drug deal
     with Matter.



                                               35
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 74 of 97


    February 25, 2024 – Intercepted calls and surveillance reveal HUTCHISON sold a
                 pound of methamphetamine to Guadalupe CERVANTES

154. On February 25, 2024, at approximately 4:03 p.m., HUTCHISON placed an outgoing call
     on TARGET TELEPHONE 1 to 279-245-4261, used by Guadalupe CERVANTES.
     During the intercepted call, CERVANTES told HUTCHISON that he wanted a “whole
     one,” which I believe is a reference to a pound of crystal methamphetamine.
     HUTCHISON agreed and directed CERVANTES to meet him off of “Northgate”
     (Northgate Boulevard).

155. Authorized GPS tracker data for HERNANDEZ’s Jeep Cherokee showed the vehicle
     leaving HERNANDEZ’s residence a short time after the call described above. At
     approximately 4:18 p.m., the GPS tracker indicated that the Jeep Cherokee stopped at the
     Sprouts Farmers Market parking lot, located at 4408 Del Rio Road in Sacramento.
     Around the same time, the authorized GPS “ping” on TARGET TELEPHONE 1 also
     indicated that HUTCHISON was present in the Sprouts Farmers Market parking lot.
     Subsequent to HUTCHISON’s arrival, the GPS tracker showed that the Jeep Cherokee
     drove to 1448 Tradewinds Avenue (approximately 0.8 miles away), and then quickly
     returned back to the parking lot for a brief period.

156. A short time later, the GPS “ping” on TARGET TELEPHONE 1 indicated that
     HUTCHISON had relocated to the 524 Mexican Restaurant, located at 3830 Northgate
     Boulevard, while the GPS tracker indicated that the Jeep Cherokee had returned to
     HERNANDEZ’s residence.

157. No additional calls were intercepted between CERVANTES and HUTCHISON and it is
     unknown if HUTCHISON and CERVANTES met to carry out the deal for the pound of
     crystal methamphetamine. Based on this intercepted call, experience with this
     investigation, the GPS tracker data, and my training and experience, I believe that
     HERNANDEZ picked up a pound of crystal methamphetamine from 1448 Tradewinds
     Avenue and then supplied it to HUTCHISON in the Sprouts Farmers Market parking lot.

      February 28, 2024 – HUTCHISON used TARGET TELEPHONE 1 to facilitate the
                      sale of three pounds of methamphetamine to CS-1

158. On February 2, 2024, the Honorable Deborah Barnes authorized activation of GPS “ping”
     intercepts on TARGET TELEPHONE 1.

159. On February 27, 2024, at the direction of agents, CS-1 placed a recorded phone call to
     HUTCHISON over TARGET TELEPHONE 1. Agents were able to instantaneously

                                              36
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 75 of 97


     monitor the call and confirm that the telephone dialed was TARGET TELEPHONE 1
     because CS-1’s phone calls are recorded on a secure law enforcement server.

160. During this call, CS-1 told HUTCHISON that CS-1 was hoping to see him the next day
     to purchase three to four pounds of crystal methamphetamine and HUTCHISON said,
     “it’s all good, for sure.” HUTCHISON mentioned that he also had “smurfs” (fentanyl-
     laced pills made to look like “M-30” Oxycodone tablets) available. HUTCHISON
     described the “smurfs” as “nice as fuck” and “lovely” (indicating good quality).
     HUTCHISON quoted CS-1 a price of “12” ($1,200) per “boat” (1,000 “M-30” tablets).

161. On February 28, 2024, at approximately 6:26 p.m., at the direction of agents, CS-1 placed
     a recorded phone call to HUTCHISON over TARGET TELEPHONE 1. Agents
     observed CS-1 enter the phone number and place the call; agents subsequently monitored
     the call. During this call, CS-1 told HUTCHISON that he was heading to Sacramento
     and needed three pounds of crystal methamphetamine. HUTCHISON agreed and
     mentioned that he was waiting on his “boy” to get home.

162. A short time later, at the direction of agents, CS-1 placed multiple recorded phone calls to
     HUTCHISON over TARGET TELEPHONE 1. Agents observed CS-1 enter the phone
     number and place the call; agents subsequently monitored each of these calls. During
     these calls, HUTCHISON confirmed that he obtained the three pounds of crystal
     methamphetamine. HUTCHISON mentioned that he needed to meet another person off
     of “Marconi” (Marconi Avenue). HUTCHISON and CS-1 then agreed to conduct the
     transaction in the Home Depot parking lot, located at 8000 Folsom Boulevard in
     Sacramento.

163. At approximately 9:11 p.m., CS-1 arrived at the Home Depot parking lot and parked on
     the northwest side of the lot, as observed by agents.

164. At approximately 9:20 p.m., agents observed HERNANDEZ’s Jeep Cherokee arrive in
     the Home Depot parking lot and park directly next to CS-1’s vehicle. Agents observed
     HUTCHISON exit the right front passenger door of the Jeep Cherokee and enter CS-1’s
     vehicle. Agents then observed HUTCHISON exit CS-1’s vehicle, return to the Jeep
     Cherokee, and depart the Home Depot parking lot.

165. After the controlled purchase, CS-1 told agents that HUTCHISON entered CS-1’s vehicle
     through the right front passenger door. Upon entering CS-1’s vehicle, CS-1 stated that
     HUTCHISON removed three plastic bags containing crystal methamphetamine from his
     front sweatshirt pocket and placed them on the center console. CS-1 then handed
     HUTCHISON $3,300 in exchange for the crystal methamphetamine.

                                                37
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 76 of 97




166. Agents submitted the substance purchased from HUTCHISON as part of the SARABIA
     DTO on February 28, 2024, to a DEA laboratory for analysis. The DEA lab later
     confirmed that the substance contained a net weight of 1,344.60 grams of
     methamphetamine.

     March 3, 2024 – HUTCHISON used TARGET TELEPHONE 1 to facilitate the sale
         of 1,500 fentanyl-laced pills made to look like “M-30” Oxycodone tablets

167. On March 1, 2024, the Honorable Deborah Barnes authorized activation of GPS “ping”
     intercepts on TARGET TELEPHONE 1.

168. On March 3, 2024, at approximately 12:13 p.m., at the direction of agents, CS-1 sent a
     text message to HUTCHISON on TARGET TELEPHONE 1, which read, “Yo fam
     gonna be in town today need them baby blues.” Later that day, HUTCHISON sent a text
     message from TARGET TELEPHONE 1 to CS-1, which read, “Ight fasho let me know
     when.”

169. At approximately 6:35 p.m., communications were intercepted over TARGET
     TELEPHONE 1 with 279-245-4261, used by Guadalupe CERVANTES. During those
     intercepted communications, CERVANTES asked HUTCHISON for “four of them,”
     which I believe is reference to four pounds of crystal methamphetamine. HUTCHISON
     replied, “hell yeah,” and informed CERVANTES that he had to go grab it.

170. At approximately 6:45 p.m., the authorized GPS “ping” on TARGET TELEPHONE 1
     indicated that HUTCHISON was in the vicinity of N Street and Interstate-5 in
     Sacramento.

171. At approximately 6:55 p.m., TFO Kacalek reviewed the live pole camera for 616 N Street
     in Sacramento and observed HUTCHISON along with two other individuals exit the
     residence.

172. At approximately 7:13 p.m., at the direction of agents, CS-1 placed multiple recorded
     phone calls to HUTCHISON over TARGET TELEPHONE 1. Agents observed CS-1
     enter the phone number and place the calls; agents subsequently monitored the calls.

173. During these calls, HUTCHISON agreed to sell 1,500 fentanyl-laced pills made to look
     like “M-30” Oxycodone tablets for $1,700. HUTCHISON informed CS-1 that he still
     needed to retrieve “them” (M-30 tablets). HUTCHISON and CS-1 agreed to conduct the
     transaction at the In-N-Out, located at 3501 Truxel Road in Sacramento.

                                             38
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 77 of 97




 174. At approximately 7:15 p.m., the authorized GPS “ping” on TARGET TELEPHONE 1
      indicated that HUTCHISON was in the vicinity of Price Court and Rio Linda Boulevard.
      The “ping” encompassed the address of 2765 Rio Linda Boulevard.

 175. At approximately 7:22 p.m., communications were intercepted over TARGET
      TELEPHONE 1 with CERVANTES. During those intercepted communications,
      HUTCHISON informed CERVANTES to meet him near the intersection of Arden Way
      and Fairfield (Fairfield Street), which is an approximate five-minute drive from 2765 Rio
      Linda Boulevard. A short time later, agents observed HUTCHISON’s Toyota Camry
      meet with a Cadillac sedan, bearing California license plate 8YJD152, 14 near the
      intersection of Arden Way and Fairfield Street. Though agents were not able to confirm
      CERVANTES was the driver of the Cadillac sedan, I believe that CERVANTES was the
      driver of the vehicle, because the wire intercepts revealed that HUTCHISON was
      directing CERVANTES to meet at the intersection of Arden Way and Fairfield Street,
      where surveillance subsequently observed HUTCHISON meet with the Cadillac sedan.

 176. At approximately 7:36 p.m., CS-1 received an incoming call from HUTCHISON. During
      this call, HUTCHISON informed CS-1 that he needed to retrieve the “key” to get to the
      “spot” (stash location). Subsequent to this conversation, agents lost visual of the Toyota
      Camry that HUTCHISON was driving and were unable to acquire the vehicle. GPS ping
      data was not able to provide locational data to confirm HUTCHISON’s path of travel
      after making this comment to CS-1 over the call.

 177. At approximately 8:02 p.m., CS-1 arrived at the In-N-Out parking lot and parked just
      south of the restaurant, as observed by agents. A short time later, agents observed the
      Toyota Camry arrive and park next to CS-1’s vehicle. Agents observed HUTCHISON
      exit the driver’s seat of the Toyota Camry and enter CS-1’s vehicle. Approximately two
      minutes later, agents observed HUTCHISON exit CS-1’s vehicle, return to the Toyota
      Camry, and depart the In-N-Out parking lot.

 178. After the controlled purchase, CS-1 told agents that HUTCHISON entered CS-1’s vehicle
      through the right front passenger door. Upon entering CS-1’s vehicle, CS-1 stated that
      HUTCHISON removed two plastic bags containing “M-30” tablets from his front
      sweatshirt pocket and handed them to CS-1. CS-1 then handed HUTCHISON $1,700 in
      exchange for the “M-30” tablets.


       14
             The registration information on the Cadillac sedan, bearing California license
plate 8YJD152, returned to Raymond Silas 5764 Nina Way Apt #2, Sacramento, CA, 95824.

                                                39
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 78 of 97


 179. Agents submitted the “M-30” tablets purchased from HUTCHISON on behalf of the
      SARABIA DTO to a DEA laboratory for analysis. The DEA lab determined that the “M-
      30” tablets contained a net weight of 160.33 grams of fentanyl.

     March 12, 2024 – Surveillance of SARABIA and HUTCHISON, followed by a traffic
            stop results in the seizure of one pound of crystal methamphetamine

 180. On March 12, 2024, at approximately 8:56 p.m., agents initiated surveillance on a 2023
      Nissan Rogue, bearing California license plate 9HCG380, 15 in the Elk Grove area.
      Agents observed SARABIA driving the Nissan Rogue and HUTCHISON in the rear
      passenger seat of the vehicle. Agents also observed that there were other occupants in the
      Nissan Rogue. Agents followed the Nissan Rogue as it traveled throughout Elk Grove,
      making several brief stops along the way.

 181. At approximately 9:39 p.m., agents observed the Nissan Rogue arriving in the area of
      New Country Drive in Elk Grove. Agents observed an unidentified truck begin to follow
      the Nissan Rogue for a few seconds before both vehicles parked on New Country Court.
      Agents observed an unidentified individual exit the rear passenger seat of the Nissan
      Rogue, approach the right front passenger door of the truck, briefly lean into the truck,
      and then return to the Nissan Rogue, which then left the area. The truck also departed the
      area in a different direction. Agents continue to surveil the Nissan Rogue.

 182. At approximately 10:03 p.m., agents observed the Nissan Rogue arriving at 2765 Price
      Court on Sacramento. Agents observed the Nissan Rogue come to a stop in front of the
      residence, and an unidentified individual exit the Nissan Rogue and walk towards the
      residence. The Nissan Rogue then repositioned and parked in front of the residence.
      Agents observed SARABIA exit the Nissan Rogue and walk toward the residence.
      Agents observed the unidentified individual exit the residence and get into the Nissan
      Rogue. A few seconds later, agents observed SARABIA also exit the residence and get
      into the driver seat of the Nissan Rogue. The vehicle then left the area, and agents
      continued to surveil it.

 183. At approximately 10:27 p.m., agents observed the Nissan Rogue arrive in the area of
      6120 Oak Green Circle in Carmichael and park in front of the residence. Agents then
      observed a separate vehicle, later identified as a black 2001 Mercedes S430, bearing
      California license plate 5RXP715, also arrive and stop just short of the Nissan Rogue.
      Agents observed an unidentified individual approach and open the right front passenger
      seat of the Mercedes S340, where the unidentified individual met with the occupants

       15
               The Nissan Rogue, bearing California license plate 9HCG380, is a rental car
registered to EAN Holdings LLC, 14002 E. 21st Street St., Suite 1500, Tulsa, OK 74134.
                                                40
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 79 of 97


     inside. Approximately one minute later, the unidentified individual walked back towards
     the Nissan Rogue, and the vehicle left the area. Due to visual obstructions, agents were
     unable to confirm if the unidentified individual came from the Nissan Rogue and/or got
     back into the Nissan Rogue before it left the area.

184. Based on the suspicion that a drug deal had occurred between the Nissan Rogue and the
     Mercedes S430, agents coordinated a traffic stop on the Mercedes S430. Agents
     followed the Mercedes S430 as it left the area of Oak Green Circle and traveled south on
     Walnut Avenue. At approximately 10:50 p.m., a CHP marked patrol vehicle conducted a
     traffic stop on the Mercedes S430 on Walnut Avenue based upon an observed violation
     of the California Vehicle Code. Upon yielding to the CHP officer, a male individual,
     later identified as Thomas Wood, opened the front passenger door and ran northbound,
     away from the CHP officer. Wood was taken into custody shortly thereafter by another
     CHP officer. The driver of the Mercedes S430 was identified as Brooke Clark. Upon
     approaching the Mercedes S430, the CHP officer observed a large plastic bag containing
     suspected crystal methamphetamine on the right front passenger seat in plain view. A
     search of Clark revealed two plastic bags containing suspected crystal methamphetamine.
     Clark and Wood were subsequently arrested for drug related offenses and booked into the
     Sacramento County jail.

185. Based on my training, experience, and knowledge of this investigation, coupled with
     surveillance observations, I believe that the crystal methamphetamine located in the
     Mercedes S430 was supplied by SARABIA during the drug deal observed by agents
     before the traffic stop.

186. The crystal methamphetamine is in the process of being submitted to a DEA laboratory
     for analysis. Based on my training and experience, and that of other experienced agents,
     I believe the substance to be crystal methamphetamine. The crystal methamphetamine
     had a gross weight of 582.7 gross grams.

      March 13, 2024 – Mulan KEOPHIMANH made a suspected money drop run to
      Southern California, and a firearm was located during a search of her vehicle

187. On February 26, 2024, the Honorable Jeremy D. Peterson authorized GPS “ping”
     intercepts on telephone number (279) 386-9399, used by KEOPHIMANH, for a period of
     30 days.

188. On March 13, 2024, at approximately 7:35 p.m., ping data for KEOPHIMANH indicated
     that the phone left KEOPHIMANH and HUTCHISON’s shared residence and began
     traveling southbound on Interstate 5. Between approximately 11:17 a.m. and 11:47 a.m.,

                                              41
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 80 of 97


     ping data showed the phone in the vicinity of Hardt Field, located at 9001 Stockdale
     Highway in Bakersfield. At approximately 12:17 p.m., ping data showed the phone
     traveling northbound on Interstate 5. At approximately 2:00 p.m., agents established
     surveillance on Interstate 5 just south of Tracy.

189. At approximately 2:22 p.m., using the ping information, agents located KEOPHIMANH
     driving northbound on Interstate 5 in the same 2023 Nissan Rogue (CA 9HCG380) that
     SARABIA was observed driving on March 12, 2024.

190. Agents followed the Nissan Rogue as it continued to travel northbound on Interstate 5
     towards Stockton. At approximately 3:08 p.m., a marked CHP patrol vehicle conducted a
     traffic stop on the Nissan Rogue on Interstate 5 in Stockton based upon an observed
     violation of the California Vehicle Code. The officer identified KEOPHIMANH as the
     driver and sole occupant. Another officer deployed his controlled substance detection
     canine to perform a cursory search of the vehicle. The canine unit alerted to the presence
     of narcotics in the vehicle. A subsequent search yielded a loaded semi-automatic Glock
     handgun (#BVVH164) in a Louis Vuitton backpack style purse. The magazine was
     loaded with 13 rounds. The officer also located KEOPHIMANH’s cell phone and a
     wallet containing multiple cards with KEOPHIMANH’s name on it within the same
     Louis Vuitton backpack style purse. KEOPHIMANH was subsequently arrested for
     firearm-related offenses and booked into the San Joaquin County jail.

191. A review of authorized GPS “ping” information for SARABIA Prior Telephone #2
     revealed that SARABIA had gone to Target Location 1 prior to KEOPHIMANH’s
     departure to southern California.

192. Based on my training, experience, and knowledge of this investigation, I believe that
     KEOPHIMANH made a quick turnaround trip to southern California at the direction of
     SARABIA to drop off an unknown amount of currency to his source(s) of supply, either
     as a payment for a future shipment of drugs or to pay off a drug debt for drugs that were
     fronted to SARABIA.

             April 2, 2024 – CS-4 purchased approximately three pounds of crystal
                          methamphetamine from Jose HERNANDEZ

193. On March 26, 2024, the Honorable Carolyn K. Delaney authorized activation of GPS
     “ping” intercepts for telephone number (279) 241-1809, used by Jose HERNANDEZ.

194. On April 1, 2024, at approximately 1:15 p.m., at the direction of agents, CS-4 placed a
     recorded phone call to HERNANDEZ at telephone number (279) 241-1809. During this

                                               42
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 81 of 97


     call, CS-4 informed HERNANDEZ that s/he was hoping to see HERNANDEZ the next
     day. HERNANDEZ asked, “what you wanna do?” to which CS-4 replied that s/he would
     let HERNANDEZ know the next day and HERNANDEZ agreed.

195. At approximately 12:43 p.m., at the direction of agents, CS-4 placed a recorded phone
     call to HERNANDEZ. During the call, CS-4 informed HERNANDEZ that s/he wanted
     “three” (three pounds of crystal methamphetamine). HERNANDEZ replied that he
     needed to retrieve it and that it would take about an hour. HERNANDEZ and CS-4
     agreed to conduct the drug deal at the In-N-Out, located at 3501 Truxel Road, in
     Sacramento.

196. At approximately 1:25 p.m., agents observed HERNANDEZ exit the garage of 2710
     Edgewater Court in West Sacramento while carrying a black backpack. Agents then
     observed HERNANDEZ enter the driver seat of a black Dodge Durango that was parked
     in the driveway of the residence. The Dodge Durango departed the residence and agents
     maintained constant surveillance of the vehicle as it travelled.

197. At approximately 1:42 p.m., agents observed the Dodge Durango stop at a Chevron gas
     station, located at 860 Arden Way in Sacramento. Agents observed HERNANDEZ exit
     the Dodge Durango, walk into the store portion of the gas station, exit the store portion of
     the gas station, put gas in the vehicle, then depart the gas station. After departing the
     Chevron gas station, agents observed the Dodge Durango make a substantial amount of
     irrational turns into shopping centers and residential neighborhoods, acting in a manner
     consistent with conducting counter-surveillance to evade law enforcement observation.

198. At approximately 2:10 p.m., CS-4 arrived at the In-N-Out parking lot and parked just
     south of the restaurant, as observed by agents.

199. At approximately 2:18 p.m., agents observed the Dodge Durango park next to CS-4’s
     vehicle. Agents then observed HERNANDEZ exit the Dodge Durango, walk to CS-4’s
     vehicle, place something in the front passenger seat of CS-4’s vehicle, then enter the front
     passenger side of CS-4’s vehicle. A few seconds later, agents observed HERNANDEZ
     exit CS-4’s vehicle, return to the Dodge Durango, and depart the parking lot.

200. Agents followed the Dodge Durango and subsequently observed it arrive at the Terracina
     Gold Apartments at 4451 Gateway Park Blvd, SARABIA’s known residence. This
     observed pattern of behavior is consistent with the inference that HERNANDEZ
     delivered a portion of the drug money from the drug deal with CS-4 to SARABIA
     because SARABIA provided the drugs on credit to HERNANDEZ or as part of their
     ongoing drug trafficking partnership within the SARABIA DTO.

                                                43
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 82 of 97


201. After the controlled purchase, CS-4 told agents that HERNANDEZ entered CS-4’s
     vehicle through the right front passenger door. Upon entering, CS-4 stated that
     HERNANDEZ removed a black grocery bag from under his sweatshirt and handed it to
     CS-4. CS-4 looked inside the black grocery bag and noted it contained a blue plastic bag
     further containing bags of crystal methamphetamine. CS-4 then handed HERNANDEZ
     the $3,600 in exchange for the crystal methamphetamine.

202. The crystal methamphetamine was submitted to a DEA laboratory for analysis, the results
     of which are still pending. Based on my training and experience, and that of other
     experienced agents, I believe the substance to be crystal methamphetamine. The crystal
     methamphetamine had a gross weight of 1463.9 gross grams.

                 April 2, 2024 – Surveillance of SARABIA and confirmation of
                                     SARABIA’s residence

203. On April 2, 2024, at approximately 5:00 p.m., I established surveillance in the vicinity of
     the Terracina Gold Apartments, located 4451 Gateway Park Boulevard in Sacramento –
     the known residence of Julio SARABIA.

204. At approximately 6:00 p.m., I observed SARABIA, Selena Torres, and a child exit
     apartment #318. (Note: Co-Conspirator 1 previously explained that Selena Torres and
     SARABIA approached Co-Conspirator 1 in approximately January 2023 about
     transporting loads of drugs for SARABIA – Co-Conspirator 1 believed Torres was
     involved in SARABIA’s drug dealing operation and was in a romantic relationship with
     him). I then observed SARABIA re-enter the same apartment briefly before coming out
     again within a few seconds. SARABIA subsequently met up with Torres and the child,
     and the three individuals moved towards the parking lot located on the northside of the
     apartment complex. All three individuals entered Torres’s Acura MDX, displaying
     California license plate number 9BFV757, and departed from the area.

                 April 18, 2024 – Surveillance of HUTCHISON and SARABIA

205. On April 18, 2024, at approximately 5:00 p.m., law enforcement established surveillance
     in the vicinity of HUTCHISON and KEOPHIMANH’s residence located at 3301 Arena
     Boulevard in Sacramento.

206. At approximately 5:06 p.m., law enforcement observed HUTCHISON and John Martinez
     exit the residence and enter the Toyota Camry that HUTCHISON was observed driving
     by agents during the January 16, 2024, and March 3, 2024 controlled purchases with CS-



                                                44
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 83 of 97


     1. The Toyota Camry departed the residence and law enforcement began to surveil the
     vehicle.

207. At approximately 5:14 p.m., law enforcement observed the Toyota Camry arrive at 524
     Mexican Restaurant, located at 3830 Northgate Boulevard. Law enforcement further
     observed both Martinez and HUTCHISON exit the Toyota Camry and enter the
     restaurant. A short time later, law enforcement observed Martinez, HUTCHISON, and a
     third individual exit the restaurant and walk towards the Toyota Camry. Agents were
     able to identify the third individual as Julio SARABIA. Martinez, HUTCHISON, and
     SARABIA entered the Toyota Camry and departed the restaurant. Martinez was driving
     the Toyota Camry, SARABIA was the front passenger, and HUTCHISON was the rear
     passenger.

208. Law enforcement followed the Toyota Camry to St. Mary Cemetery, located at 6509
     Fruitridge Road. Law enforcement observed Martinez, HUTCHISON, and SARABIA
     exit the vehicle and visit a headstone within the cemetery. A short time later, Martinez,
     HUTCHISON, and SARABIA returned to the Toyota Camry and departed the cemetery.
     Martinez was driving the Toyota Camry, SARABIA was the front passenger, and
     HUTCHISON was the rear passenger.

209. At approximately 7:15 p.m., law enforcement observed the Toyota Camry arrive at the
     Burger King, located at 4960 Auburn Boulevard in Sacramento. Law enforcement
     observed SARABIA exit the Toyota Camry and walk eastbound towards a mobile home
     park, located at 5000 Auburn Boulevard. SARABIA continued to the far east side of the
     lot and entered an unknown trailer on the south (the trailer was later identified as Space
     38 as discussed in the next section). Due to an obstructed view, law enforcement could
     not determine which trailer SARABIA had entered. A short time later, law enforcement
     observed SARABIA emerge from the unknown trailer on the south side of the lot
     carrying a weighted plastic grocery bag, and observed him begin walking westbound
     towards Auburn Boulevard. SARABIA then returned to the Burger King, re-entered the
     Toyota Camry, and departed the area.

210. At approximately 7:36 p.m., law enforcement observed the Toyota Camry arrive at 272
     Christine Drive. Law enforcement observed SARABIA exit the Toyota Camry with the
     weighted plastic grocery bag in his hands, walk towards the front door of 272 Christine
     Drive, and go into the residence. Approximately ten minutes later, law enforcement
     observed SARABIA exit 272 Christine Drive without the weighted plastic grocery bag,
     re-enter the Toyota Camry, and depart the area.




                                               45
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 84 of 97


211. Based on my training, experience, and knowledge with this investigation, I believe that
     the unknown trailer at 5000 Auburn Boulevard (later identified as Space 38 as discussed
     in the next section) is a stash location for the SARABIA DTO. Furthermore, I believe
     that SARABIA retrieved a significant amount of drugs from this location and
     subsequently delivered them to 272 Christine Drive.

212. Law enforcement followed the Toyota Camry and observed it park near 2388 Oakmont
     Street. Law enforcement observed HUTCHISON exit the rear passenger seat of the
     Toyota Camry and walk into 2388 Oakmont Street. A short time later, law enforcement
     observed HUTCHISON exit 2388 Oakmont Street, re-enter the Toyota Camry, and
     depart the area. The surveillance operation was then terminated.

             Identification of suspected stash location at 5000 Auburn Boulevard,
                                     Space 38, Sacramento

213. I later reviewed the aerial footage captured by the Sacramento County Sheriff’s Office
     airwing during the surveillance operation involving Martinez, HUTCHISON, and
     SARABIA on April 18, 2024 (described immediately above). While reviewing the
     footage, with particular focus on the time period when SARABIA arrived at the mobile
     home park, I observed SARABIA standing at the front door of the trailer in Space 38.
     SARABIA knocked on the door, entered the trailer, and closed the door behind him.

214. After a few minutes, SARABIA emerged from the vicinity of the trailer in Space 38
     carrying a weighted bag. Due to the positioning of the airwing, I was unable to observe
     SARABIA exit the trailer in Space 38. A commercial database query revealed that the
     person residing at the location has a criminal history that includes two drug-related
     crimes.

215. On April 29, 2024, the Honorable Jeremy D. Peterson authorized activation of GPS
     “ping” intercepts for telephone number (279) 241-1641, used by Jose HERNANDEZ.

216. On April 30, 2024, at approximately 9:49 p.m., the authorized GPS “ping” indicated that
     HERNANDEZ made a brief stop at 5000 Auburn Boulevard, Space 38, in Sacramento,
     with a 6-meter accuracy.

217. Toll analysis of HERNANDEZ’s telephone number (279) 241-1641 revealed that
     HERNANDEZ and telephone number (916) 834-1666 were in contact approximately 120
     times between March 27 and April 24, 2024. A commercial database query revealed that
     telephone number (916) 834-1666is subscribed to the resident of 5000 Auburn Boulevard
     Space 38, in Sacramento.

                                              46
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 85 of 97




218. Based on this information, coupled with my training, experience, and knowledge of this
     investigation, I believe that Space 38 is a stash location for the SARABIA DTO, given
     that members of the SARABIA DTO access this trailer, and SARABIA was observed
     leaving the trailer with a weighted grocery bag believed to contain drugs.

           April 30, 2024 – Identification of suspected stash location at 3160 Del Paso
                                    Boulevard, in Sacramento

219. On April 30, 2024, at approximately 2:19 p.m., the authorized GPS “ping” for Jose
     HERNANDEZ’s phone indicated that HERNANDEZ was at 3160 Del Paso Boulevard in
     Sacramento. I reviewed the live pole came footage for this location and observed a red
     sedan arrive and park on the street in front of the residence. I observed HERNANDEZ
     exit the red sedan and walk towards the front of the property. Due to the angle of the
     pole camera, I was unable to observe HERNANDEZ enter the residence or access a
     motorhome stored in the front yard.

220. At approximately 2:24 p.m., HERNANDEZ reappeared from the property and began
     walking back to the red sedan. I zoomed in and noticed that HERNANDEZ was carrying
     a weighted white bag in his left hand. HERNANDEZ re-entered the red sedan and
     departed the area.

221. Based on my observations, coupled with the fact that HERNANDEZ was observed
     making a brief stop at this location and departing with an unknown item prior to the
     controlled purchase with CS-4 on February 22, 2024 (as detailed above), I believe that
     3160 Del Paso Boulevard in Sacramento is another stash location for the SARABIA
     DTO. Furthermore, based on my training, experience, and knowledge of this
     investigation, I know that drug traffickers often times have multiple stash locations. This
     precaution is taken so that if one of their locations is compromised and located by law
     enforcement, they would only lose a portion of their product.

     May 1, 2024 – Law enforcement observe Jose HERNANDEZ engaged in a drug deal

222. On May 1, 2024, at approximately 3:19 p.m., the authorized GPS “ping” indicated that
     HERNANDEZ was back at 3160 Del Paso Boulevard in Sacramento. Upon reviewing
     the live pole camera for this location, I observed the same red sedan arrive and park on
     the street behind an older blue sedan that was already parked in front of the residence at
     approximately 3:10 p.m. A short time later, I observed an individual exit the blue sedan
     and approach the driver’s side window of the red sedan. After a brief exchange, I
     observed the individual move along the eastside of the motorhome stored in the front

                                                47
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 86 of 97


     yard and towards the front of the residence, out of camera view. Within a minute, the
     individual reappeared from the residence, carrying a white bag. I observed the individual
     return to the driver’s side window of the red sedan and hand the white bag to the driver.
     The individual then returned to the blue sedan, entered the vehicle, and departed the area.
     A short time later, the red sedan also departed. Based on the GPS pings from
     HERNANDEZ’s phone and the movement of the red sedan, I believe that HERNANDEZ
     was the driver of the red sedan and that the individual supplied HERNANDEZ with an
     unknown quantity of drugs.

223. At approximately 7:59 p.m. on May 1, the authorized GPS “ping” indicated that
     HERNANDEZ was again back at 3160 Del Paso Boulevard in Sacramento. Upon
     reviewing the live pole camera for this location, I observed a newer silver Chevrolet SUV
     arrive and park on the street in front of the residence at approximately 7:54 p.m.
     Approximately one minute later, I observed HERNANDEZ exit the Chevrolet SUV
     through the rear passenger side of the vehicle.

224. At approximately 7:56 p.m., I observed HERNANDEZ enter the motorhome stored in the
     front yard. Within seconds, the driver exited the Chevrolet SUV and walked around
     towards the rear passenger side of the vehicle. A short time later, I observed
     HERNANDEZ exit the motorhome, walk back to the Chevrolet SUV, and open the front
     passenger door. It appeared that HERNANDEZ was talking to the individual seated in
     the front passenger seat.

225. At approximately 7:57 p.m., I observed HERNANDEZ close the front passenger door
     and re-enter the motorhome. I also observed the driver of the Chevrolet SUV get back
     into the driver’s seat. At approximately 8:04 p.m., I observed HERNANDEZ exit the
     motorhome carrying a white plastic bag. I then observed HERNANDEZ enter the
     Chevrolet SUV through the rear passenger door with the white plastic bag and depart the
     area.

         April 30, 2024 – Intercepted calls between HUTCHISON and Guadalupe
      CERVANTES about a drug deal – Confirmation of suspected stash location at 616
                                   N Street, Sacramento


226. On April 19, 2024, the Honorable Troy L. Nunley authorized the interception of wire and
     electronic communication over HUTCHISON’s telephone, (530) 575-2921 (“TARGET
     TELEPHONE 3”). Interception began on April 20, 2024.

227. On March 26, 2024, the Honorable Carolyn K. Delaney authorized activation of GPS
     “ping” intercepts for TARGET TELEPHONE 3.

                                               48
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 87 of 97




228. On April 30, 2024, at approximately 6:12 p.m., HUTCHISON received an incoming call
     on TARGET TELEPHONE 3 from 279-245-4261, used by Guadalupe CERVANTES.
     During this intercepted call, HUTCHISON asked, “What ya trynna do?” CERVANTES
     responded, “Same thing.” HUTCHISON responded, “Alright it’s all good, let me go put
     it together for you.”

229. At approximately 7:49 p.m., HUTCHISON received another incoming call over
     TARGET TELEPHONE 3 from CERVANTES. During this intercepted call,
     HUTCHISON stated, “I’m grabbin’ it right now,” and later asked “so all you needed is
     the half, right?” CERVANTES responded, “Yeah for sure.”

230. The authorized GPS “ping” indicated that HUTCHISON was in the vicinity of 616 N
     Street in Sacramento when he received the incoming call. I reviewed the live pole
     camera for this location and observed HUTCHISON coming out of the rear parking lot of
     the apartment complex and moving towards the front door of 616 N Street at
     approximately 7:54 p.m. HUTCHISON was wearing a white t-shirt and dark colored
     pants. I then observed HUTCHISON enter the residence and close the door behind him.

231. At approximately 8:33 p.m., HUTCHISON placed an outgoing call from TARGET
     TELEPHONE 3 to CERVANTES. During this intercepted call, HUTCHISON asked
     “You can meet me at the Wal-Mart again?” CERVANTES responded, “Uh,
     yep.” HUTCHISON later stated that he had to “stop off uh uh El Camino real quick and
     then [U/I] straight to you.”

232. The authorized GPS “ping” indicated that HUTCHISON was still in the vicinity of 616 N
     Street when he placed the outgoing call. Upon reviewing the live pole camera for this
     location, I observed an individual wearing a white t-shirt and dark colored pants exit the
     residence and move towards the rear parking lot of the apartment complex at
     approximately 8:41 p.m. I was unable to confirm the individual as HUTCHISON
     because the video was pixelated at that time. However, at approximately 8:52 p.m., the
     authorized GPS “ping” indicated that HUTCHISON was in the vicinity of West El
     Camino and Northgate Boulevard, coinciding with pole camera observations of
     HUTCHISON leaving 616 N Street, and consistent with HUTCHISON’s intercepted call
     with CERVANTES.

233. At approximately 9:19 p.m., HUTCHISON received another incoming call over
     TARGET TELEPHONE 3 from CERVANTES. During this intercepted call,
     CERVANTES asked, “Where you at?” HUTCHISON responded, “I’m right here
     nigga…where we met at last time.” HUTCHISON then asked, “Where you at? What car

                                               49
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 88 of 97


     you in?” CERVANTES responded, “In the van.” HUTCHISON responded, “That might
     be you right…yeah…go uh…go left…or just pull right here to the left right there.”

234. Immediately after this series of intercepted calls, agents observed HUTCHISON meet
     with CERVANTES in the Walmart parking lot located at 4675 Watt Avenue, North
     Highlands, where HUTCHISON has met CERVANTES on a prior occasion to conduct a
     drug deal (“meet me at the Wal-Mart again”).

235. Based on these intercepted calls and surveillance observations, I believe that
     HUTCHISON sold CERVANTES a half pound of methamphetamine (“half”) and that
     HUTCHISON acquired the half pound from 616 N Street because HUTCHISON
     mentioned that he was “grabbin’ it right now,” while pinging at 616 N Street, and
     preparing to take drugs to the drug deal with CERVANTES.

236. Queries of a Sacramento County law enforcement database revealed that the individual
     who resides at 616 N Street is an MBK associate. TFO Cunningham was familiar with
     this person and had previously conducted surveillance on him at 616 N Street. TFO
     Cunningham also knows this person’s Instagram social media account is “nnnn.ick,” and
     has the caption, “4evaSplazh,” in its biography. According to TFO Cunningham,
     “4evaSplazh” is a tribute to a late MBK member who was murdered execution-style
     manner in September 2022, in Sacramento.

237. Live pole camera footage along with authorized GPS “pings” and vehicle tracker data,
     has identified 616 N Street as a place where SARABIA, HUTCHISON, and
     HERNANDEZ visit regularly.

238. On February 19, 2024, the occupant of 616 N Street was intercepted over TARGET
     TELEPHONE 1. During the intercepted call, he explained to HUTCHISON that he had
     just been “pressed” (confronted) by “A Peezy,” who TFO Cunningham identified as
     Anthony Pimentel. Also during the intercepted call, Pimentel confronted the 616 N Street
     resident about something he had posted on social media. HUTCHISON told the 616 N
     Street resident that he should have had a “thing” (likely a gun) on him to protect himself.
     HUTCHISON then stated that if he would have seen Pimentel that he would have shot
     him. The 616 N Street resident said that moving forward he will keep “it” (likely a gun)
     on him.




                                               50
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 89 of 97


                          CONCLUSION AND REQUEST TO SEAL

239. This Affidavit contains information regarding potential targets, which if unsealed may
     jeopardize the very information sought to be gained by these search warrants. In light of
     the ongoing nature of the investigation, and the likelihood that notice to above-identified
     individuals may cause them to destroy evidence, flee from prosecution, and notify
     confederates, I request that this affidavit and the resulting arrest warrants be sealed on the
     Court’s docketing system, with the exception of copies utilized by law enforcement
     officers participating in the investigation.

240. I also respectfully request that a Criminal Complaint be issued against the defendants
     listed below and, based upon that Criminal Complaint, arrest warrants be issued for each
     of the defendants based upon their ongoing violation of federal law, as detailed below.




                                                 51
      Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 90 of 97


241. Defendants and Violation

        i.    Between on or about January 26, 2023, and continuing to the present, the
              defendants Julio Cesar SARABIA, Michael William HUTCHISON III, Jose
              Miguel HERNANDEZ JR, Mulan Precious KEOPHIMANH, Johnny Bobby
              TRUONG, Guadalupe Manuel CERVANTES, and Tanya Duerelle LAWSON,
              are engaged in an ongoing conspiracy with each other and others known and
              unknown, to distribute and possess with intent to distribute at least 500 grams of a
              mixture and substance containing a detectable amount of methamphetamine in
              violation of 21 U.S.C. §§ 846, 841(a)(1).

 I swear, under the penalty of perjury, that the foregoing information is true and correct to the
 best of my knowledge, information, and belief.

                                                                 /s/ Sixto Torres
                                                            ____________________________
                                                            Sixto Torres
                                                            Task Force Officer
                                                            Drug Enforcement Administration

 Sworn to me over the telephone and SIGNED by me pursuant to Fed. R. Crim. P. 4.1 and
                 28
 4(d) on this ___________  day of May 2024.


 ____________________________
 Hon. Deborah Barnes
 United States Magistrate Judge


 Approved as to form:

 /s/ Jason Hitt
 Jason Hitt
 Assistant United States Attorney




                                                 52
       Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 91 of 97


                         United States v. Julio SARABIA, et al.
                           Penalties for Criminal Complaint
Defendants
Julio Cesar SARABIA
Michael William HUTCHISON III
Jose Miguel HERNANDEZ JR
Mulan Precious KEOPHIMANH
Johnny Bobby TRUONG
Guadalupe Manuel CERVANTES
Tanya Duerelle LAWSON

Penalty on Sole Count in the Complaint:
ALL DEFENDANTS

VIOLATION:          21 U.S.C. §§ 846, 841(a)(1) – Conspiracy to Distribute and Possess with
                    Intent to Distribute at least 500 grams of a mixture and substance
                    containing a detectable amount of methamphetamine

PENALTIES:          Mandatory minimum of 10 years in prison and a maximum of up to life in
                    prison; or
                    Fine of up to $10,000,000; or both fine and imprisonment
                    Supervised release of at least 5 years up to life

SPECIAL ASSESSMENT: $100 (mandatory)
                         Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 92 of 97
AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                      for the
                                                        Eastern District of California

                  In the Matter of the Search of                  )
                                                                  )
                                                                  )             Case No.   2:24-sw-0695 CSK
A dark colored Nokia flip cellular telephone,
                                                                  )
described in Attachment A-17                                      )
                                                                  )

                                                SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                           Eastern District of            California
(identify the person or describe the property to be searched and give its location):


SEE ATTACHMENT A-17, attached here and incorporated by reference.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

SEE ATTACHMENTS B and C, attached here and incorporated by reference.


        YOU ARE COMMANDED to execute this warrant on or before                     July 24, 2024       (not to exceed 14 days)
       in the daytime 6:00 a.m. to 10:00 p.m.  at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the property
was taken.

        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to: any authorized U.S. Magistrate Judge in the Eastern District
of California.
     Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     for 30 days (not to exceed 30)  until, the facts justifying, the later specific date of                                   .


Date and time issued:             July 10, 2024 at 4:30 p.m.
                                                                                                   Judge’s signature

City and state:             Sacramento, California                                   Chi Soo Kim, U.S. Magistrate Judge
                                                                                                 Printed name and title
                         Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 93 of 97
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2) (modified)

                                                                      Return
Case No.:                              Date and time warrant executed:          Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                    Certification

     I swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.



                            _____________________________________________________________

                          Subscribed, sworn to, and returned before me this date.



           ____________________________________________                                 ______________________________
                                     Signature of Judge                                                  Date
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 94 of 97


                                    ATTACHMENT A-17
                                     Item to be Searched

       A dark colored Nokia flip cellular telephone, seized from 2710 Edgewater Court, West
Sacramento, CA on May 30, 2024. The Device is currently in the custody of the Drug
Enforcement Administration.

This warrant authorizes the forensic examination of the Device for the purpose of identifying the
electronically stored information described in Attachment B.
         Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 95 of 97


                                           ATTACHMENT B
                                            Items to be Seized

     Law enforcement is authorized to search and seize property that constitutes evidence, fruits, and
instrumentalities of violations of the following federal statutes (the “Target Offenses”):



            •    Conspiracy to Distribute and Possess with Intent to Distribute a controlled substance, in
                 violation of 21 U.S.C. §§ 841(a)(1) and 846;

            •    Distribution of, and possession with intent to distribute a controlled substance, in
                 violation of 21 U.S.C. § 841(a)(1);

            •    Use of a communication facility to further a Conspiracy to Distribute and Possess with
                 Intent to Distribute a controlled substance, in violation of 21 U.S.C. § 843.


        As further described in the Affidavit, the specific evidence, fruits, and instrumentalities of the
Target Offenses for which agents may search includes:

    1. Any and all names, words, telephone numbers, email addresses, time/date information,
        messages or other electronic data in the memory of the Electronic Devices identified in
        Attachments A-1 through A-19 or on a server and associated with the Electronic Devices
        identified in Attachments A-1 through A-19, including:
            a. Incoming call history;
            b. Outgoing call history;
            c. Missed call history;
            d. Outgoing text messages;
            e. Incoming text messages;
            f. Draft text messages;
            g. Telephone book;
            h. Emails;
            i. Data screen or file identifying the telephone number associated with the mobile
                 telephone searched;
            j. Data screen, file, or writing containing serial numbers or other information to
                 identify the electronic device searched;
            k. Voicemail;
    Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 96 of 97


       l. User-entered messages (such as to-do lists); and
       m. Stored media such as photographs or video.
2. Any passwords used to access the electronic data described above.
3. Any and all locations, addresses, GPS coordinates, names, time/date information, or other
   electronic data related to addresses and driving directions.
4. All information and records related to the Target Offenses, including:
       a. Data and information related to stored applications and/or websites used to
           communicate with associates and co-conspirators;
       b. Data, information, or documents related to the distribution of controlled
           substances, including the acquisition, possession, and use of equipment,
           paraphernalia, and materials used in the distribution process, including firearms;
       c. lists of customers and related identifying information;
       d. types, amounts, and prices of drugs trafficked as well as dates, places, and
           amounts of specific transactions;
       e. any information related to sources of drugs or drug manufacturing materials and
           equipment (including names, addresses, phone numbers, email addresses, or any
           other identifying information);
       f. any information recording schedule or travel;
       g. all bank records, checks, credit card bills, account information, and other financial
           records;
       h. data, information, or documents related to the receipt of proceeds from controlled
           substances distribution and the transfer, investment, control, and disposition of
           those proceeds;
       i. records of Internet Protocol addresses used;
       j. records of Internet activity, including firewall logs, caches, browser history and
           cookies, “bookmarked” or “favorite” web pages, search terms that the user
           entered into any Internet search engine, and records of user-typed web addresses;
       k. any communications related to drug trafficking;
       l. stored media such as photographs or video.
        Case 2:24-sw-00695-CSK Document 1 Filed 07/10/24 Page 97 of 97


   5. Evidence of user attribution showing who used or owned the devices at the time the
       things described in this warrant were created, edited, or deleted, such as logs,
       phonebooks, saved usernames and passwords, documents, and browsing history;
       As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.
